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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                                )
COMPANY (U.S.A.) f/k/a John Hancock                        )
Life Insurance Company                                     )
                                                           )
                                 Plaintiff,                )
                                                           )
        v.                                                 )       Case No. 4:18-CV-02869
                                                           )
THE ESTATE OF JENNIFER LAUREN                              )
WHEATLEY, et al.                                           )
                                                           )
                                 Defendants.               )

PLAINTIFF’S SUPPLEMENTAL BRIEF IN SUPPORT OF ITS MOTION FOR AWARD
                  OF ATTORNEYS’ FEES AND EXPENSES

        John Hancock Life Insurance Company, (U.S.A.) f/k/a Manufacturers Life Insurance

Company (“John Hancock”) provides the following additional support for its Motion for Award

of Attorneys’ Fees and Expenses (“Motion”) (ECF 77, 97).

        In addition to an attorneys’ fee award to John Hancock for the preparation of the

interpleader petition, as is routinely granted for a disinterested stakeholder1, John Hancock

requests that the Court consider awarding additional fees given the protracted litigation caused

by the Defendants. See Coface N. Am. Ins. Co. v. Woodlands Export, LLC, No. 4:15-cv-921,

2016 WL 4361462, at *4-5 (S.D. Tex. Aug. 15, 2016) (awarding the stakeholder nearly $60,000

in attorneys’ fees and expenses, indicating that while amount was more than typical, the

inconsistent briefing and filing of counterclaims not supported by law added unnecessarily to the

stakeholder’s workload); Duncan v. OXY Srvs., Inc., No. H-05-1661, 2005 WL 8164431, at *2

(S.D. Tex. Dec. 27, 2005) (awarding additional attorneys’ fees to the stakeholder for having to


1
  John Hancock directs the Court to its Motion (ECF 77) where it fully briefs the standard for attorneys’ fees
applicable to interpleader actions.


                                                      1

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address numerous issues that do not typically arise in an interpleader action); Westlake Styrene,

LLC v. U.S., No. H-10-2631, 2011 WL 643265, at *3-4 (S.D. Tex. Feb. 16, 2011) (awarding

additional attorneys’ fees to the stakeholder due to defendant’s engagement in unnecessary

motion practice).

       John Hancock’s original Motion requested an order awarding its attorneys’ fees and

expenses in the amount of $43,887.55 as a result of the filing and prosecution of the interpleader.

That Motion, and its supporting declaration, was filed on September 18, 2019. Since that time,

John Hancock has expended an additional $63,206.95 in reasonable attorneys’ fees in dealing

with the resolution of Defendant the Estate of Jennifer Lauren Wheatley’s (“Wheatley Estate”)

baseless counterclaims and a premature appeal by Defendant Jeremy Ward (“Ward”), which

unnecessarily protracted the resolution of this interpleader action. As a result, John Hancock has

expended total fees of $106,199.95 plus $894.55 in expenses over the life of the case.

       In addition to the time previously spent by John Hancock in an effort to dismiss the

counterclaims filed by the Wheatley Estate and Ward, John Hancock was forced to expend

additional significant fees in an effort to get all but one counterclaim asserted by the Wheatley

Estate dismissed once the counterclaims were revived by the Court. In this effort, the following

filings, and corresponding research, by John Hancock was necessitated: (1) opposition to

Wheatley Estate’s motion for leave to amend its answer, crossclaim and counterclaims (ECF

112); (2) motion for protective order to quash improper written discovery and corporate

deposition requested by Wheatley Estate (ECF 119); (3) opposition to the Wheatley Estate’s

motion for determination of choice of law on counterclaims (ECF 124); (4) opposition to the

Wheatley Estate’s motion to modify scheduling order (ECF 129); and (5) opposition to the

Wheatley Estate’s motion for attorneys’ fees (ECF 149). Most recently, the Wheatley Estate



                                                2

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sought the amendment of the Court’s order dismissing its counterclaim for statutory interest and

attorneys’ fees. John Hancock again had to submit argument to support the Court’s initial ruling

(ECF 152).

        As to the one surviving counterclaim asserted, for breach of contract, John Hancock

served an Offer of Judgment on January 30, 2020 (ECF 113), long before the Wheatley Estate

filed its motion for partial summary judgment on that claim on March 16, 2020 (ECF 125). The

Offer of Judgment, in the amount of $25,000, more than covered the damages resulting from

such claim - $16,069.94 plus interest.2 However, after the Wheatley Estate failed to respond to

the Offer of Judgment, it proceeded to file a motion for partial summary judgment on the claim,

to which John Hancock had to respond (ECF 131).

        As previously briefed in detail to the Court (see ECF 119, p. 6-7; ECF 131, p. 4-6, 8)

John Hancock has repeatedly attempted to get the Defendants to settle their claims to the

interpleader proceeds and has also attempted to resolve the Wheatley Estate’s counterclaims via

settlement, all to no avail. Given its good faith efforts to resolve this case at every juncture, John

Hancock believes that an award of attorneys’ fees related to its settlement efforts is also

warranted.

        As stated in its original Motion, the hours billed by BCLP were reasonable and necessary

in this action. Thirty-four and seven-tenths (34.7) hours were spent to investigate, prepare and

file the interpleader action, prepare the required corporate disclosure statement, and to request

and deposit the annuity proceeds into the Court’s registry. The remaining three hundred (300)

hours were spent responding to Defendants’ baseless counterclaims and other various motions,

engaging in communications encouraging settlement, attending mandated court conferences,

2
 See John Hancock’s Opposition to the Wheatley Estate’s Motion to Revise Order Entered on 5/28/2020 which
provides support for the argument that only $1,553.43 in prejudgment interest is warranted here. (ECF 152)


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preparing Rule 26 disclosures, participating in the Rule 26(f) conference, and responding to

multiple sets of written discovery from each Defendant, including the review and production of

hundreds of pages of documents. See Exhibit 1, Declaration of Jennifer L. Berhorst.

       Plaintiff John Hancock respectfully requests that the Court enter an order to reimburse it

$106,199.95 for the attorneys’ fees and $894.55 for the expenses incurred in this interpleader

action and for such other and further relief as the Court deems necessary.

                                             Respectfully submitted,

                                             BRYAN CAVE LEIGHTON PAISNER LLP


                                             By: /s/ Jennifer L. Berhorst
                                                 Gregory J. Sachnik
                                                 Texas Bar No. 17503800
                                                 S.D. Texas No. 9757
                                                 2200 Ross Avenue, Suite 3300
                                                 Dallas, Texas 75201
                                                 (214) 721.8000 – Telephone
                                                 (214) 721.8100 – Fax
                                                 E-Mail: Gregory.sachnik@bclplaw.com

                                                    Admitted Pro Hac Vice:

                                                    W. Perry Brandt
                                                    Missouri Bar No. 28292
                                                    Jennifer L. Berhorst
                                                    Missouri Bar No. 61784
                                                    1200 Main Street, Suite 3800
                                                    Kansas City, MO 64105-2100
                                                    Telephone: (816) 374-3200
                                                    Facsimile: (816) 374-3300
                                                    perry.brandt@bclplaw.com
                                                    jennifer.berhorst@bclplaw.com


                                                    Attorneys for Plaintiff John Hancock Life
                                                    Insurance Company (U.S.A.)




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                            CERTIFICATE OF CONFERENCE

        In compliance with Local Civil Rule 7.1, on July 13, 2020 I conferred with counsel for
the Estate of Jennifer Lauren Wheatley by telephone regarding the relief requested in the
foregoing Motion. The Wheatley Estate opposes the motion and counsel could not agree as to a
disposition of the motion.

                                                    /s/ Jennifer L. Berhorst
                                                    Attorney for Plaintiff




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 14th day of July, 2020, the foregoing was
served upon all counsel of record through CM/ECF filing system.

                                                    /s/ Jennifer L. Berhorst
                                                    Attorney for Plaintiff




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                                                               EXHIBIT A
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                                                               EXHIBIT A
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                                                               EXHIBIT A
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Date           Initials   Name / Invoice Number         Hours Amount          Description

    9/3/2019      10679 Jennifer L. Berhorst              0.1           41.4 Analyze court's minute entry regarding hearing
  10/10/2019              Invoice=10899216                                   on motion to dismiss crossclaims.

    9/3/2019      10679 Jennifer L. Berhorst              1.1          455.4 Begin drafting motion for attorneys fees.
  10/10/2019              Invoice=10899216

    9/3/2019      10679 Jennifer L. Berhorst              0.1           41.4 Draft correspondence to client regarding
  10/10/2019              Invoice=10899216                                   resolution of litigation.

    9/3/2019      20974 Gregory J. Sachnik                0.2           116 Assess orders and potential need to prepare
  10/10/2019              Invoice=10899216                                  motion for attorneys fees.

    9/4/2019      10679 Jennifer L. Berhorst              0.4          165.6 Draft correspondence to client regarding
  10/10/2019              Invoice=10899216                                   attorney's fee recovery strategy.

    9/4/2019      10679 Jennifer L. Berhorst              0.9          372.6 Analyze client bills to determine potential fee
  10/10/2019              Invoice=10899216                                   and cost recovery.

    9/4/2019      10679 Jennifer L. Berhorst              0.6          248.4 Strategize regarding negotiation of attorneys'
  10/10/2019              Invoice=10899216                                   fee recovery.

    9/4/2019      10679 Jennifer L. Berhorst              1.3          538.2 Research in support of motion for award of
  10/10/2019              Invoice=10899216                                   attorney's fees.

    9/4/2019      11546 Guadalupe Rojas-Wiederaenders
  10/10/2019              Invoice=10899216                0.5           100 Receipt and review e-mail from J. Berhorst
                                                                            requesting samples of motions for fees and
                                                                            costs in federal district court; run search and
                                                                            provide documents.

    9/5/2019      10679 Jennifer L. Berhorst              3.2       1,324.80 Continue drafting motion for attorneys' fees.
  10/10/2019              Invoice=10899216

    9/6/2019      10679 Jennifer L. Berhorst              1.7          703.8 Continue drafting brief in support of motion
  10/10/2019              Invoice=10899216                                   for attorneys' fees.

    9/7/2019      21524 Sarah R. Holdmeyer                1.8           504 Research attorneys' fee awards for motion for
  10/10/2019              Invoice=10899216                                  attorneys' fees.

    9/8/2019      21524 Sarah R. Holdmeyer                1.6           448 Continue drafting Motion for Attorneys' Fees
  10/10/2019              Invoice=10899216                                  and TOC to Motion.

    9/9/2019      10679 Jennifer L. Berhorst              0.9          372.6 Revise motion for attorneys' fees and attorney
  10/10/2019              Invoice=10899216                                   bills in support.

    9/9/2019      10679 Jennifer L. Berhorst              0.2           82.8 Analyze proposed order on dismissal of J.
  10/10/2019              Invoice=10899216                                   Ward's cross-claim and award of interplead
                                                                             funds to Wheatley Estate and correspond with
                                                                             client regarding the same.

    9/9/2019      10679 Jennifer L. Berhorst              0.3          124.2 Analyze motion for summary judgment filed by
  10/10/2019              Invoice=10899216                                   Wheatley Estate.


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Date           Initials   Name / Invoice Number   Hours Amount       Description

    9/9/2019      10679 Jennifer L. Berhorst        1.3       538.2 Draft declaration in support of motion for
  10/10/2019              Invoice=10899216                          attorney's fees.

    9/9/2019       9483 Ann Woeppel                                 Prepare exhibit regarding attorneys' fees by
  10/10/2019              Invoice=10899216          0.5       107.5 removing confidential information in
                                                                    preparation for transmittal to court with
                                                                    motion.

    9/9/2019      21567 Mary A. Adams               0.7             Review citations and quotations in Motion for
  10/10/2019              Invoice=                    0             Attorneys Fees, as requested by J. L. Berhorst.

   9/10/2019       9483 Ann Woeppel                                Prepare exhibit containing cases cited in brief
  10/10/2019              Invoice=10899216          0.6        129 along with an index of same for submission to
                                                                   court.

   9/10/2019      10679 Jennifer L. Berhorst        0.3       124.2 Correspondence with all counsel regarding
  10/10/2019              Invoice=10899216                          consent to motion for attorneys' fee.

   9/10/2019      10679 Jennifer L. Berhorst        0.5        207 Draft proposed order on motion for attorneys
  10/10/2019              Invoice=10899216                         fees.

   9/10/2019      10679 Jennifer L. Berhorst        0.6       248.4 Analyze Wheatley Estate's draft motion to
  10/10/2019              Invoice=10899216                          modify order on motion to dismiss counterclaims
                                                                    and supporting material and strategize
                                                                    regarding response.

   9/10/2019      10679 Jennifer L. Berhorst        0.2        82.8 Update table of authorities in support of
  10/10/2019              Invoice=10899216                          motion for attorneys' fees.

   9/10/2019      20974 Gregory J. Sachnik          0.4        232 Review and revise draft motion for fees and
  10/10/2019              Invoice=10899216                         proposed order for compliance with local rules.

   9/10/2019      21524 Sarah R. Holdmeyer          0.6        168 Begin researching issues raised by the Wheatley
  10/10/2019              Invoice=10899216                         Estate in its Motion for Reconsideration.

   9/10/2019      21524 Sarah R. Holdmeyer          0.6        168 Review motion for reconsideration filed by the
  10/10/2019              Invoice=10899216                         Wheatley Estate.

   9/10/2019       9153 James C. Thurow             0.2             Obtain copies of cases cited in pleading for J
  10/10/2019              Invoice=                    0             Berhorst

   9/11/2019      21524 Sarah R. Holdmeyer           1         280 Research viability of the Wheatley Estate's
  10/10/2019              Invoice=10899216                         Motion for Reconsideration.

   9/11/2019      10679 Jennifer L. Berhorst        0.1        41.4 Analyze correspondence from counsel for J. Ward
  10/10/2019              Invoice=10899216                          regarding return of allegedly erroneously paid
                                                                    funds.

   9/11/2019      10679 Jennifer L. Berhorst        0.5        207 Correspondence with client regarding resolution
  10/10/2019              Invoice=10899216                         of various proposed motions.

   9/12/2019      10679 Jennifer L. Berhorst        0.2        82.8 Correspondence with all counsel regarding


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Date         Initials    Name / Invoice Number         Hours Amount       Description
  10/10/2019            Invoice=10899216                                 resolution of remaining issues.

   9/13/2019     10679 Jennifer L. Berhorst              0.1        41.4 Correspondence with counsel for Wheatley Estate
  10/10/2019            Invoice=10899216                                 regarding resolution of attorneys' fee motion.

   9/17/2019     10679 Jennifer L. Berhorst              0.1        41.4 Correspondence with counsel for Wheatley Estate
  10/10/2019            Invoice=10899216                                 regarding declination of offer to settle
                                                                         litigation.

   9/17/2019     20974 Gregory J. Sachnik                0.2        116 Follow-up regarding need to submit motion for
  10/10/2019            Invoice=10899216                                fees.

   9/18/2019     20974 Gregory J. Sachnik                0.5        290 Assess motion to alter minute entry order (.2);
  10/10/2019            Invoice=10899216                                finalize motion for fees (.3).

   9/18/2019     10679 Jennifer L. Berhorst              0.5        207 Analyze multiple proposed motions received by
  10/10/2019            Invoice=10899216                                Wheatley Estate and communicate with client
                                                                        regarding the same.

   9/18/2019     10679 Jennifer L. Berhorst              0.6       248.4 Final edits to motion for attorneys' fees and
  10/10/2019            Invoice=10899216                                 supporting documents in preparation for filing.

   9/18/2019     11546 Guadalupe Rojas-Wiederaenders
  10/10/2019            Invoice=10899216                 0.9        180 Receipt and review of motion for attorneys'
                                                                        fees and attachments; revise and finalize
                                                                        signature lines; preparation of documents for
                                                                        filing; file with US District Court; send
                                                                        confirmation to all.

   9/30/2019     21524 Sarah R. Holdmeyer                1.6        448 Review motion for reconsideration and research
  10/10/2019            Invoice=10899216                                in preparation of drafting response in
                                                                        opposition.

   10/1/2019     10679 Jennifer L. Berhorst              0.2        82.8 Analyze Ward's opposition to motion for summary
  11/12/2019            Invoice=10906679                                 judgment.

   10/1/2019     10679 Jennifer L. Berhorst              0.1        41.4 Correspondence with client regarding pending
  11/12/2019            Invoice=10906679                                 motions and potential for settlement.

   10/1/2019     10679 Jennifer L. Berhorst              0.1        41.4 Analyze Ward's opposition to Estate's motion
  11/12/2019            Invoice=10906679                                 for reconsideration.

   10/1/2019     10679 Jennifer L. Berhorst              0.1        41.4 Analyze Ward's proposed motion for
  11/12/2019            Invoice=10906679                                 reconsideration of March 2019 order dismissing
                                                                         counterclaims.

   10/2/2019     10679 Jennifer L. Berhorst              0.9       372.6 Strategize arguments in response to pending
  11/12/2019            Invoice=10906679                                 motions to reinstate counterclaims.

   10/2/2019     10679 Jennifer L. Berhorst              0.5        207 Correspondence with client regarding strategy
  11/12/2019            Invoice=10906679                                for resolution of outstanding motions including
                                                                        potential settlement offers to resolve
                                                                        outstanding potential counterclaims.


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Date           Initials   Name / Invoice Number         Hours Amount           Description

   10/2/2019      21524 Sarah R. Holdmeyer                 2            560 Research for drafting opposition to motions to
  11/12/2019              Invoice=10906679                                  revise orders.

   10/2/2019      21524 Sarah R. Holdmeyer                1.5           420 Review various motions, orders, and pleadings
  11/12/2019              Invoice=10906679                                  in preparation of drafting opposition to
                                                                            motions to revise orders.

   10/2/2019       8995 William Perry Brandt              0.3                  Conference with J. L. Berhorst regarding
  11/12/2019              Invoice=10906679                0.3                  strategy.

   10/3/2019      21524 Sarah R. Holdmeyer                4.6       1,288.00 Continue drafting Oppositions to Motions to
  11/12/2019              Invoice=10906679                                   Revise.

   10/4/2019      21524 Sarah R. Holdmeyer                0.9           252 Continue drafting Opposition to Motions to
  11/12/2019              Invoice=10906679                                  Revise.

   10/4/2019      10679 Jennifer L. Berhorst              0.1           41.4 Draft correspondence to client enclosing draft
  11/12/2019              Invoice=10906679                                   opposition to Wheatley Estate's motions for
                                                                             reconsideration.

   10/4/2019      10679 Jennifer L. Berhorst              0.8         331.2 Revise opposition to Estate's motions
  11/12/2019              Invoice=10906679                                  requesting reinstatement of counterclaims and
                                                                            revisions to proposed final judgment to include
                                                                            additional arguments related to Court's
                                                                            intentions in prior orders.

   10/7/2019      10679 Jennifer L. Berhorst              0.2           82.8 Analyze client's revisions to pending motions.
  11/12/2019              Invoice=10906679

   10/7/2019      10679 Jennifer L. Berhorst              0.2           82.8 Correspondence with client regarding potential
  11/12/2019              Invoice=10906679                                   settlement negotiations.

   10/7/2019      21524 Sarah R. Holdmeyer                0.6           168 Revise opposition to the Estate's Motion for
  11/12/2019              Invoice=10906679                                  Reconsideration, incorporating client's
                                                                            revisions.

   10/8/2019      20974 Gregory J. Sachnik                0.3           174 Review response to motion to alter orders to
  11/12/2019              Invoice=10906679                                  prepare for submission.

   10/8/2019      10679 Jennifer L. Berhorst              0.3         124.2 Final revisions to opposition to Estate's
  11/12/2019              Invoice=10906679                                  motion to revise prior order.

   10/8/2019      10679 Jennifer L. Berhorst              0.2           82.8 Draft correspondence to counsel for J. Ward
  11/12/2019              Invoice=10906679                                   regarding settlement of remaining claims.

   10/8/2019      11546 Guadalupe Rojas-Wiederaenders     0.3           61.5 File Motion with Court.
  11/12/2019              Invoice=10906679

   10/8/2019      11546 Guadalupe Rojas-Wiederaenders     0.3           61.5
  11/12/2019              Invoice=10906679                                     Finalize Response to Motion to Revise Order.

   10/8/2019      11546 Guadalupe Rojas-Wiederaenders     0.1           20.5 Preparation of Motion for filing.


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  11/12/2019            Invoice=10906679

   10/9/2019     11546 Guadalupe Rojas-Wiederaenders     0.3        61.5
  11/12/2019            Invoice=10906679                                   Receipt and review of ECF notices, download
                                                                           documents, send to docketing if necessary and
                                                                           distribute.

   10/9/2019     11546 Guadalupe Rojas-Wiederaenders     0.1
  11/12/2019            Invoice=                           0               Receipt and review of e-mail from J. Berhorst
                                                                           requesting copy of transcript.

   10/9/2019     11546 Guadalupe Rojas-Wiederaenders     0.2          41
  11/12/2019            Invoice=10906679                                   Draft revise and finalize form to order
                                                                           transcript and file same.

   10/9/2019     10679 Jennifer L. Berhorst              0.1        41.4 Analyze Ward's brief with additional support
  11/12/2019            Invoice=10906679                                 opposing Wheatley Estate's motion for summary
                                                                         judgment.

  10/10/2019     11546 Guadalupe Rojas-Wiederaenders     0.1        20.5
  11/12/2019            Invoice=10906679                                   Receipt and review of e-mail from Court
                                                                           Reporter regarding invoice for transcript.

  10/10/2019     11546 Guadalupe Rojas-Wiederaenders     0.3        61.5
  11/12/2019            Invoice=10906679                                   Telephone conference with Court Reporter
                                                                           requesting W-9.

  10/10/2019     11546 Guadalupe Rojas-Wiederaenders     0.2
  11/12/2019            Invoice=                           0               Set up service on Chrome and request check.

  10/14/2019     10679 Jennifer L. Berhorst              0.5        207 Analyze the Estate's opposition to motion for
  11/12/2019            Invoice=10906679                                award of attorneys' fees.

  10/15/2019     10679 Jennifer L. Berhorst              1.5        621 Revise case law cited in the Estate's
  11/12/2019            Invoice=10906679                                opposition to motion for attorneys fees and
                                                                        outline reply brief.

  10/15/2019     10679 Jennifer L. Berhorst              0.1        41.4 Correspondence with counsel for J. Ward to
  11/12/2019            Invoice=10906679                                 discuss resolution of counterclaim.

  10/15/2019     11546 Guadalupe Rojas-Wiederaenders     0.5       102.5
  11/12/2019            Invoice=10906679                                   Draft, revise and finalize letter to court
                                                                           reporter forwarding check for hearing
                                                                           transcript.

  10/16/2019     10679 Jennifer L. Berhorst              0.2        82.8 Draft motion for extension of time to file
  11/12/2019            Invoice=10906679                                 reply in support of motion for attorneys' fees.

  10/18/2019     10679 Jennifer L. Berhorst              0.2        82.8 Analyze Ward's motion for leave to file
  11/12/2019            Invoice=10906679                                 opposition to motion for attorneys' fees out of
                                                                         time.

  10/18/2019     10679 Jennifer L. Berhorst              0.3       124.2 Analyze Wheatley's reply in support of motion


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Date         Initials    Name / Invoice Number         Hours Amount            Description
  11/12/2019            Invoice=10906679                                      for reconsideration of March 14, 2019 minute
                                                                              order.

  10/22/2019     10679 Jennifer L. Berhorst              2.8       1,159.20 Draft reply in support of motion for award of
  11/12/2019            Invoice=10906679                                    attorneys' fees.

  10/22/2019     21524 Sarah R. Holdmeyer                3.6       1,008.00 Draft opposition to Ward's Motion for
  11/12/2019            Invoice=10906679                                    Reconsideration.

  10/23/2019     21524 Sarah R. Holdmeyer                0.2             56 Finalize opposition to Motion for
  11/12/2019            Invoice=10906679                                    Reconsideration.

  10/23/2019     20974 Gregory J. Sachnik                0.8           464 Review and revise draft response to motion to
  11/12/2019            Invoice=10906679                                   reconsider (.5); review and revise draft reply
                                                                           in support of motion for fees (.3).

  10/23/2019     10679 Jennifer L. Berhorst              0.5           207 Revise opposition to Ward's motion for
  11/12/2019            Invoice=10906679                                   reconsideration of March 14, 2019 order.

  10/23/2019     10679 Jennifer L. Berhorst              0.9          372.6 Draft declaration in support of reply to
  11/12/2019            Invoice=10906679                                    attorneys' fees request.

  10/23/2019     10679 Jennifer L. Berhorst              0.9          372.6 Revise reply in support of motion for
  11/12/2019            Invoice=10906679                                    attorneys' fees.

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.2             41
  11/12/2019            Invoice=10906679                                      Download conformed copy of reply and forward to
                                                                              counsel.

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.1           20.5
  11/12/2019            Invoice=10906679                                      Receipt and review of Response to Motion for
                                                                              Consideration filed by Ward from J. Berhorst.

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.3           61.5 File reply and exhibit.
  11/12/2019            Invoice=10906679

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.5          102.5 Draft order denying motion.
  11/12/2019            Invoice=10906679

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.2             41 Forward same to G. Sachnik for review.
  11/12/2019            Invoice=10906679

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.2             41
  11/12/2019            Invoice=10906679                                      Receipt and review of e-mail from J. Berhorst
                                                                              forwarding reply in support of motion for
                                                                              attorneys' fees.

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.2             41
  11/12/2019            Invoice=10906679                                      Review docket to determine if order filed with
                                                                              original motion for attorneys' fees.

  10/23/2019     11546 Guadalupe Rojas-Wiederaenders     0.2             41
  11/12/2019            Invoice=10906679                                      E-mail to all counsel advising of same.


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  10/23/2019      11546 Guadalupe Rojas-Wiederaenders     0.4             82
  11/12/2019              Invoice=10906679                                     Preparation of reply and exhibit for filing.

  10/25/2019      10679 Jennifer L. Berhorst              0.1           41.4 Analyze Estate's motion to revise July 3, 2019
  11/12/2019              Invoice=10906679                                   order denying amendment to counterclaims.

  10/30/2019      10679 Jennifer L. Berhorst              0.1           41.4 Correspondence with counsel for Estate
  11/12/2019              Invoice=10906679                                   regarding payment of annuity funds in arrears.

   11/5/2019      10679 Jennifer L. Berhorst              0.3          124.2 Draft correspondence to client summarizing case
   12/9/2019              Invoice=10913882                                   status and preparation for trial.

   11/5/2019      10679 Jennifer L. Berhorst              1.6          662.4 Analyze local rules and judge rules in order to
   12/9/2019              Invoice=10913882                                   strategize for trial preparation.

   11/5/2019      20974 Gregory J. Sachnik                0.1             58 Assess need for trial attendance and staffing.
   12/9/2019              Invoice=10913882

   11/5/2019      21524 Sarah R. Holdmeyer                0.6           168 Draft opposition to motion for extension of
   12/9/2019              Invoice=10913882                                  time.

   11/5/2019      21524 Sarah R. Holdmeyer                0.2             56 Review Ward's motion for extension of time.
   12/9/2019              Invoice=10913882

   11/5/2019      21524 Sarah R. Holdmeyer                0.4           112 Research in preparation of drafting opposition
   12/9/2019              Invoice=10913882                                  to motion for extension of time.

   11/5/2019      11546 Guadalupe Rojas-Wiederaenders     0.1           20.5
   12/9/2019              Invoice=10913882                                     Download conformed copy and upload to i-Manage.

   11/5/2019      11546 Guadalupe Rojas-Wiederaenders     0.3           61.5
   12/9/2019              Invoice=10913882                                     Draft order and forward to J. L. Berhorst for
                                                                               review.

   11/5/2019      11546 Guadalupe Rojas-Wiederaenders     0.2             41 File documents.
   12/9/2019              Invoice=10913882

   11/5/2019      11546 Guadalupe Rojas-Wiederaenders     0.2             41 Preparation of documents for filing.
   12/9/2019              Invoice=10913882

   11/5/2019      11546 Guadalupe Rojas-Wiederaenders     0.1           20.5
   12/9/2019              Invoice=10913882                                     Receipt and review of email from J. Berhorst
                                                                               regarding drafting of proposed order denying
                                                                               Ward's motion for extension of time.

   11/8/2019      21524 Sarah R. Holdmeyer                4.1       1,148.00 Draft opposition to Motion to Revise Order
   12/9/2019              Invoice=10913882                                   filed by the Wheatley Estate.

  11/11/2019      21524 Sarah R. Holdmeyer                1.1           308 Continue drafting opposition to motion to
   12/9/2019              Invoice=10913882                                  revise orde.

  11/11/2019      21524 Sarah R. Holdmeyer                0.8           224 Additional research for opposition.


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    12/9/2019            Invoice=10913882

   11/11/2019     21524 Sarah R. Holdmeyer                0.3          84 Draft table of contents to opposition.
    12/9/2019            Invoice=10913882

   11/11/2019     21524 Sarah R. Holdmeyer                0.4        112 Draft proposed order.
    12/9/2019            Invoice=10913882

   11/11/2019     20974 Gregory J. Sachnik                0.3        174 Review pre-trial disclosures and strategize
    12/9/2019            Invoice=10913882                                regarding need for John Hancock to participate
                                                                         given prior abatement of claims.

   11/11/2019     10679 Jennifer L. Berhorst              0.2        82.8 Analyze witness and exhibit list received from
    12/9/2019            Invoice=10913882                                 J. Ward.

   11/11/2019     10679 Jennifer L. Berhorst              0.3       124.2 Revise opposition to Wheatley Estate's motion
    12/9/2019            Invoice=10913882                                 to revise order entered on July 3, 2019.

   11/12/2019      8995 William Perry Brandt              0.3               Teleconference with client regarding status.
    12/9/2019            Invoice=10913882                 0.3

   11/12/2019     20974 Gregory J. Sachnik                0.3        174 Review opposition to motion to revise order and
    12/9/2019            Invoice=10913882                                associated exhibits for compliance with local
                                                                         rules.

   11/12/2019     21524 Sarah R. Holdmeyer                0.4        112 Conference call with client to determine
    12/9/2019            Invoice=10913882                                strategy for settling matter before trial date.

   11/12/2019     10679 Jennifer L. Berhorst              0.1        41.4 Draft correspondence to client providing update
    12/9/2019            Invoice=10913882                                 on status of settlement negotiations.

   11/12/2019     10679 Jennifer L. Berhorst              0.3       124.2 Telephone conference with C. Moore to discuss
    12/9/2019            Invoice=10913882                                 resolution of pending interpleader claims.

   11/12/2019     10679 Jennifer L. Berhorst              0.5        207 Telephone conference with client to discuss
    12/9/2019            Invoice=10913882                                trial preparation and settlement strategy.

   11/12/2019     11546 Guadalupe Rojas-Wiederaenders     0.5       102.5
    12/9/2019            Invoice=10913882                                   File with Court, download and upload to
                                                                            i-Manage.

   11/12/2019     11546 Guadalupe Rojas-Wiederaenders     0.7       143.5
    12/9/2019            Invoice=10913882                                   Proof opposition to motion to revise order,
                                                                            appendix and proposed order.

   11/12/2019     11546 Guadalupe Rojas-Wiederaenders     0.3        61.5
    12/9/2019            Invoice=10913882                                   Preparation of all documents for filing and
                                                                            service.

   11/12/2019     21524 Sarah R. Holdmeyer                0.5        140 Review documents received from client regarding
    12/9/2019            Invoice=10913882                                payments made to Ward.

   11/13/2019     21524 Sarah R. Holdmeyer                0.4        112 Review communications with opposing counsel


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    12/9/2019            Invoice=10913882                           regarding settlement.

   11/13/2019     10679 Jennifer L. Berhorst        0.3       124.2 Telephone conference with counsel for the
    12/9/2019            Invoice=10913882                           Wheatley Estate to discuss settlement
                                                                    opportunities.

   11/13/2019     10679 Jennifer L. Berhorst        0.2        82.8 Draft correspondence to client providing update
    12/9/2019            Invoice=10913882                           on status of case resolution.

   11/13/2019     21524 Sarah R. Holdmeyer          0.6        168 Review Summary Judgment Order entered by the
    12/9/2019            Invoice=10913882                          court.

   11/13/2019     20974 Gregory J. Sachnik          0.3        174 Assess order on Estate's motion for summary and
    12/9/2019            Invoice=10913882                          impact on next steps.

   11/13/2019     10679 Jennifer L. Berhorst        0.3       124.2 Analyze court's order granting motion for
    12/9/2019            Invoice=10913882                           summary judgment and motions to reinstate
                                                                    counterclaims.

   11/21/2019      8995 William Perry Brandt        0.5       327.5 Telephone call with D. Berry and emails
    12/9/2019            Invoice=10913882                           regarding settlement.

   11/21/2019     20974 Gregory J. Sachnik          0.2        116 Communicate with Court's case manager regarding
    12/9/2019            Invoice=10913882                          12/9 trial setting.

   11/22/2019     21524 Sarah R. Holdmeyer          1.1        308 Develop strategy for proceeding against
    12/9/2019            Invoice=10913882                          counterclaims.

   11/22/2019     21524 Sarah R. Holdmeyer          0.6        168 Review counterclaims.
    12/9/2019            Invoice=10913882

   11/22/2019      8995 William Perry Brandt        0.5             Telephone calls and email correspondence
    12/9/2019            Invoice=10913882           0.5             regarding settlement.

   11/22/2019      8995 William Perry Brandt        0.2             Review order.
    12/9/2019            Invoice=10913882           0.2

   11/22/2019     20974 Gregory J. Sachnik          0.2        116 Strategize regarding moving trial setting and
    12/9/2019            Invoice=10913882                          potential settlement.

   11/24/2019     21524 Sarah R. Holdmeyer          1.4        392 Begin drafting answer to counterclaims of the
    12/9/2019            Invoice=10913882                          Wheatley Estate.

   11/25/2019     21524 Sarah R. Holdmeyer          1.9        532 Continue drafting answer to counterclaims.
    12/9/2019            Invoice=10913882

   11/25/2019     20974 Gregory J. Sachnik          0.1          58 Review communication from opposing counsel
    12/9/2019            Invoice=10913882                           regarding trial readiness.

   11/25/2019      8995 William Perry Brandt        0.4             Review, edit and revise answer.
    12/9/2019            Invoice=10913882           0.4

   11/25/2019      8995 William Perry Brandt        0.2             Telephone call with D. Berry.


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    12/9/2019            Invoice=10913882                  0.2

   11/25/2019      8995 William Perry Brandt              0.2               Email correspondence regarding answer.
    12/9/2019            Invoice=10913882                 0.2

   11/26/2019      8995 William Perry Brandt              0.3               Review answer.
    12/9/2019            Invoice=10913882                 0.3

   11/26/2019      8995 William Perry Brandt              0.2               Email correspondence regarding answer.
    12/9/2019            Invoice=10913882                 0.2

   11/26/2019     20974 Gregory J. Sachnik                0.2      116 Assess communications and logistics for
    12/9/2019            Invoice=10913882                              submission of answer to complaint.

   11/26/2019     11546 Guadalupe Rojas-Wiederaenders     0.2          41
    12/9/2019            Invoice=10913882                                   Conference with G. Sachnik regarding filings
                                                                            for November 27, 2019.

   11/26/2019     11546 Guadalupe Rojas-Wiederaenders     0.3      61.5
    12/9/2019            Invoice=10913882                                   Receipt and review of e-mail from G. Sachnik
                                                                            and response from S. Holdmeyer regarding same.

   11/27/2019     11546 Guadalupe Rojas-Wiederaenders     0.1      20.5
    12/9/2019            Invoice=10913882                                   Download and upload to i-Manage, distribute to
                                                                            all counsel.

   11/27/2019     11546 Guadalupe Rojas-Wiederaenders     0.1      20.5
    12/9/2019            Invoice=10913882                                   Receipt and review various e-mails regarding
                                                                            filing of Answer to Defendant's Counterclaims.

   11/27/2019     11546 Guadalupe Rojas-Wiederaenders     0.4          82
    12/9/2019            Invoice=10913882                                   Preparation of answer and file same with Court.

   11/27/2019     21524 Sarah R. Holdmeyer                0.6      168 Finalize answer to counterclaims.
    12/9/2019            Invoice=10913882

   11/27/2019      8995 William Perry Brandt              0.2               Email correspondence.
    12/9/2019            Invoice=10913882                 0.2

   11/27/2019     20974 Gregory J. Sachnik                0.2      116 Finalize submission of answer to amended
    12/9/2019            Invoice=10913882                              complaint.

    12/2/2019     20974 Gregory J. Sachnik                0.1          58 Assess order setting scheduling conference and
     1/8/2020            Invoice=10920508                                 logistics for handling.

    12/2/2019     10679 Jennifer L. Berhorst              0.2      82.8 Correspondence with opposing counsel to discuss
     1/8/2020            Invoice=10920508                               status of settlement offer prior to status
                                                                        conference with court.

    12/2/2019     10679 Jennifer L. Berhorst              0.1      41.4 Correspondence with client to prepare strategy
     1/8/2020            Invoice=10920508                               for case status conference.

    12/2/2019     10679 Jennifer L. Berhorst              0.1      41.4 Analyze order from court setting status


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       1/8/2020              Invoice=10920508                           conference.

   12/3/2019         10679 Jennifer L. Berhorst         0.2      82.8 Draft correspondence to client regarding
    1/8/2020                 Invoice=10920508                         recommendations for settlement counter-offer.

   12/3/2019         10679 Jennifer L. Berhorst         0.4     165.6 Prepare for case status conference.
    1/8/2020                 Invoice=10920508

   12/3/2019         10679 Jennifer L. Berhorst          1       414 Research additional claims to be asserted by
    1/8/2020                 Invoice=10920508                        Estate and evaluate potential response to
                                                                     settlement offer.

   12/3/2019         10679 Jennifer L. Berhorst         0.2      82.8 Analyze settlement offer received from Wheatley
    1/8/2020                 Invoice=10920508                         Estate.

   12/3/2019         10679 Jennifer L. Berhorst         0.4     165.6 Appear for case status conference with Court.
    1/8/2020                 Invoice=10920508

   12/3/2019         21524 Sarah R. Holdmeyer           2.9      812 Review and assess settlement demand of the
    1/8/2020                 Invoice=10920508                        Wheatley Estate; research validity of statutory
                                                                     relief asserted by the Wheatey Estate.

   12/3/2019         20974 Gregory J. Sachnik           0.2      116 Assess settlement demand by Estate and impact
    1/8/2020                 Invoice=10920508                        on trial setting.

   12/3/2019          8995 William Perry Brandt         0.3             Multiple emails.
    1/8/2020                 Invoice=10920508           0.3

   12/3/2019          8995 William Perry Brandt         0.1             Review settlement demand.
    1/8/2020                 Invoice=10920508           0.1

   12/3/2019          8995 William Perry Brandt         0.4             Hearing with Court.
    1/8/2020                 Invoice=10920508           0.4

   12/4/2019          8995 William Perry Brandt         0.2             Email correspondence regarding conference and
    1/8/2020                 Invoice=10920508           0.2             settlement.

   12/4/2019         21524 Sarah R. Holdmeyer           0.2          56 Continue reviewing validity of statutory relief
    1/8/2020                 Invoice=10920508                           asserted by the Wheatley Estate.

   12/6/2019         10679 Jennifer L. Berhorst         0.1      41.4 Correspondence with client regarding strategy
    1/8/2020                 Invoice=10920508                         for settlement counteroffer.

  12/13/2019         10679 Jennifer L. Berhorst         0.2      82.8 Analyze motion for leave to amend counterclaim
    1/8/2020                 Invoice=10920508                         and proposed counterclaim received from the
                                                                      Wheatley Estate.

  12/18/2019         10679 Jennifer L. Berhorst         0.5      207 Draft correspondence to opposing counsel
    1/8/2020                 Invoice=10920508                        enclosing settlement counter-offer.

  12/18/2019          8995 William Perry Brandt         0.1             Review emails regarding settlement.
    1/8/2020                 Invoice=10920508           0.1




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  12/27/2019     10679 Jennifer L. Berhorst        0.1     41.4 Correspondence with opposing counsel regarding
     1/8/2020          Invoice=10920508                         status of response to settlement offer.

    1/3/2020    10679 Jennifer L. Berhorst         0.2         98 Analyze settlement correspondence received from
   2/24/2020          Invoice=10927253                            opposing counsel.

    1/6/2020    10679 Jennifer L. Berhorst         0.6        294 Telephone conference with opposing counsel to
   2/24/2020          Invoice=10927253                            discuss settlement offer of Wheatley Estate.set

    1/6/2020     8995 William Perry Brandt         0.3            Review email and comment regarding settlement.
   2/24/2020          Invoice=10927253             0.3

    1/6/2020    21963 William J. Easley            0.5        180 Analyze case law regarding damages for consumer
   2/24/2020          Invoice=10927253                            protection violations in Massachusetts.

    1/7/2020    21963 William J. Easley            1.5        540 Analyze Texas case law to determine legal
   2/24/2020          Invoice=10927253                            standard for determining choice of law.

    1/7/2020    21963 William J. Easley            1.1        396 Draft memorandum regarding legal standard for
   2/24/2020          Invoice=10927253                            determining choice of law.

    1/8/2020    21963 William J. Easley            0.9        324 Analyze case law regarding damages under
   2/24/2020          Invoice=10927253                            consumer protection statutes.

    1/8/2020    21963 William J. Easley            1.6        576 Draft memorandum regarding damages under
   2/24/2020          Invoice=10927253                            consumer protection statutes.

    1/8/2020    10679 Jennifer L. Berhorst         0.2         98 Analyze research in preparation for drafting
   2/24/2020          Invoice=10927253                            updated settlement analysis for client.

    1/9/2020    21963 William J. Easley            0.8        288 Draft revisions to consumer protection
   2/24/2020          Invoice=10927253                            memorandum to incorporate research on possible
                                                                  damages for violations.

   1/10/2020    10679 Jennifer L. Berhorst         0.4        196 Analyze notice of appeal, research deadline for
   2/24/2020          Invoice=10927253                            filing appeal and advise client accordingly.

   1/10/2020    10679 Jennifer L. Berhorst         0.3        147 Analyze Estate's motion for leave to add
   2/24/2020          Invoice=10927253                            additional counterclaim.

   1/10/2020    10679 Jennifer L. Berhorst         0.8        392 Draft correspondence to client outlining advise
   2/24/2020          Invoice=10927253                            for settlement resolution.

   1/13/2020    10679 Jennifer L. Berhorst         0.1         49 Analyze notice of appeal filed by J. Ward.
   2/24/2020          Invoice=10927253

   1/15/2020    10679 Jennifer L. Berhorst         0.1         49 Correspondence with counsel for Wheatley estate
   2/24/2020          Invoice=10927253                            regarding potential mediation.

   1/23/2020    20974 Gregory J. Sachnik           0.2      119.6 Review multiple submissions by opposing counsel
   2/24/2020          Invoice=10927253                            for transcripts for appeal.

   1/27/2020     8995 William Perry Brandt         0.3            Review correspondence and emails.


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    2/24/2020            Invoice=10927253            0.3

    1/27/2020     20974 Gregory J. Sachnik          0.2       119.6 Review written discovery sent to John Hancock.
    2/24/2020            Invoice=10927253

    1/27/2020     21524 Sarah R. Holdmeyer          6.4    2,246.40 Begin drafting opposition to the Wheatley
    2/24/2020            Invoice=10927253                           Estate's motion for leave to amend
                                                                    counterclaims.

    1/27/2020     10679 Jennifer L. Berhorst        0.2          98 Correspondence with opposing counsel regarding
    2/24/2020            Invoice=10927253                           request for mediation.

    1/27/2020     10679 Jennifer L. Berhorst        0.5        245 Analyze additional written discovery requests
    2/24/2020            Invoice=10927253                          received from opposing counsel including
                                                                   30(b)(6) deposition topics.

    1/27/2020     10679 Jennifer L. Berhorst        0.1          49 Correspondence with client regarding settlement
    2/24/2020            Invoice=10927253                           and newly issued discovery.

    1/27/2020     10679 Jennifer L. Berhorst        0.4        196 Strategize regarding response to motion for
    2/24/2020            Invoice=10927253                          leave to amend.

    1/28/2020     10679 Jennifer L. Berhorst        0.3        147 Revise opposition to motion for leave to amend.
    2/24/2020            Invoice=10927253

    1/28/2020     10679 Jennifer L. Berhorst        0.7        343 Strategize regarding filing of offer of
    2/24/2020            Invoice=10927253                          judgment and other settlement strategies.

    1/28/2020     10679 Jennifer L. Berhorst        0.2          98 Correspondence with client regarding offer of
    2/24/2020            Invoice=10927253                           judgment.

    1/28/2020     10679 Jennifer L. Berhorst        0.5        245 Telephone conference with client to discuss
    2/24/2020            Invoice=10927253                          case status and strategy.

    1/28/2020     10679 Jennifer L. Berhorst        0.2          98 Direct work on preparation of motion for
    2/24/2020            Invoice=10927253                           protective order.

    1/28/2020     10679 Jennifer L. Berhorst        0.3        147 Prepare for telephone conference with client
    2/24/2020            Invoice=10927253                          regarding newly issued discovery and
                                                                   settlement.

    1/28/2020     21524 Sarah R. Holdmeyer          0.5       175.5 Review various state statutes regarding
    2/24/2020            Invoice=10927253                           remedies in preparation of drafting offer of
                                                                    judgment.

    1/28/2020     21524 Sarah R. Holdmeyer          1.5       526.5 Discuss and develop strategy in regards to
    2/24/2020            Invoice=10927253                           motion for leave to amend, settlement,
                                                                    mediation, and additional discovery requests;
                                                                    review discovery requests to develop strategy
                                                                    for motion for protective order.

    1/28/2020     21524 Sarah R. Holdmeyer          1.8       631.8 Continue drafting opposition to motion for
    2/24/2020            Invoice=10927253                           leave to amend; draft offer of judgment.


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   1/28/2020          8995 William Perry Brandt              0.5             Teleconference with client.
   2/24/2020                 Invoice=10927253                0.5

   1/29/2020         21524 Sarah R. Holdmeyer                0.3     105.3 Draft proposed order denying the Wheatley
   2/24/2020                 Invoice=10927253                              Estate's motion for leave to amend
                                                                           counterclaims.

   1/30/2020         21524 Sarah R. Holdmeyer                0.4     140.4 Finalize opposition to motion for leave;
   2/24/2020                 Invoice=10927253                              finalize offer of judgment.

   1/30/2020         20974 Gregory J. Sachnik                0.2     119.6 Review opposition to motion to amend, agreed
   2/24/2020                 Invoice=10927253                              order and offer of judgment for compliance with
                                                                           local rules.

   1/30/2020         11546 Guadalupe Rojas-Wiederaenders      1      211.5
   2/24/2020                 Invoice=10927253                                Finalize revisions to proposed order, response
                                                                             and offer of judgment; preparation of documents
                                                                             for filing; file all documents; retrieve
                                                                             conformed copies and district to all counsel.

   1/31/2020         20974 Gregory J. Sachnik                0.1      59.8 Review communication from opposing counsel
   2/24/2020                 Invoice=10927253                              regarding application of MA law.

       2/3/2020      10679 Jennifer L. Berhorst              0.1          49 Analyze various pleadings filed with court of
       3/9/2020              Invoice=10933747                                appeals.

       2/4/2020      20974 Gregory J. Sachnik                0.2     119.6 Review appearance form for 5th Circuit.
       3/9/2020              Invoice=10933747

       2/4/2020      11546 Guadalupe Rojas-Wiederaenders     0.9    190.35
       3/9/2020              Invoice=10933747                                Draft Entry of Appearance for G. Sachnik;
                                                                             finalize appearance; finalize preparation of
                                                                             documents for submission to court; file,
                                                                             download and upload conformed copy to i-Manage.

       2/5/2020      10679 Jennifer L. Berhorst              0.3      147 Strategize regarding arguments to include in
       3/9/2020              Invoice=10933747                             motion for summary judgment.

       2/6/2020      10679 Jennifer L. Berhorst              0.2          98 Analyze correspondence received from court of
       3/9/2020              Invoice=10933747                                appeals regarding mediation program.

       2/6/2020      10679 Jennifer L. Berhorst              0.1          49 Draft correspondence to client regarding
       3/9/2020              Invoice=10933747                                potential for mediation through appeal.

       2/6/2020      10679 Jennifer L. Berhorst              0.1          49 Correspondence with appeal's court clerk
       3/9/2020              Invoice=10933747                                regarding mediation.

       2/6/2020      20974 Gregory J. Sachnik                0.2     119.6 Assess information regarding circuit required
       3/9/2020              Invoice=10933747                              mediation and communication from mediator.

       2/6/2020      21524 Sarah R. Holdmeyer                0.4     140.4 Review discovery requests to develop objection
       3/9/2020              Invoice=10933747                              to discovery.


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       2/7/2020      10679 Jennifer L. Berhorst              0.2          98 Correspondence with counsel for the Wheatley
       3/9/2020              Invoice=10933747                                Estate regarding participation in mediation and
                                                                             status of choice of law issues.

       2/9/2020      21524 Sarah R. Holdmeyer                0.3     105.3 Continue drafting motion for protective order
       3/9/2020              Invoice=10933747                              from discovery and deposition.

   2/10/2020         20974 Gregory J. Sachnik                0.3     179.4 Assess reply brief and motion on choice of law
    3/9/2020                 Invoice=10933747                              issues submitted by the Estate.

   2/10/2020         21524 Sarah R. Holdmeyer                1.7     596.7 Continue drafting protective order.
    3/9/2020                 Invoice=10933747

   2/10/2020         10679 Jennifer L. Berhorst              0.2          98 Analyze reply in support of motion for leave to
    3/9/2020                 Invoice=10933747                                amend to add additional counterclaims.

   2/12/2020         21524 Sarah R. Holdmeyer                1.7     596.7 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/14/2020         20974 Gregory J. Sachnik                0.1      59.8 Assess need for additional excerpts from
    3/9/2020                 Invoice=10933747                              transcript for appeal.

   2/14/2020         10679 Jennifer L. Berhorst              1.1      539 Revise motion for protective order regarding
    3/9/2020                 Invoice=10933747                             third discovery requests and corporate
                                                                          deposition notice.

   2/15/2020         21524 Sarah R. Holdmeyer                0.8     280.8 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/17/2020         10679 Jennifer L. Berhorst              0.5      245 Revise motion for protective order.
    3/9/2020                 Invoice=10933747

   2/18/2020         10679 Jennifer L. Berhorst              0.2          98 Correspondence with client regarding details of
    3/9/2020                 Invoice=10933747                                conference with 5th circuit court of appeals
                                                                             mediator.

   2/18/2020         10679 Jennifer L. Berhorst              0.5      245 Telephone conference with 5th Circuit Court of
    3/9/2020                 Invoice=10933747                             Appeals mediator to discuss potential for
                                                                          mediation and status of appeal.

   2/20/2020         20974 Gregory J. Sachnik                0.2     119.6 Assess summary of appellate mediation and
    3/9/2020                 Invoice=10933747                              additional transcript orders impacting appeal.

   2/21/2020         10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding approval
    3/9/2020                 Invoice=10933747                                of motion for protective order.

   2/24/2020         11546 Guadalupe Rojas-Wiederaenders     0.5    105.75
    3/9/2020                 Invoice=10933747                                Receipt and review of ECF notices, download
                                                                             documents, send to docketing if necessary and
                                                                             distribute.

   2/25/2020         11546 Guadalupe Rojas-Wiederaenders     0.8     169.2 Receipt and review of filing for case;


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       3/9/2020              Invoice=10933747                                preparation of documents for filing.

   2/25/2020         10679 Jennifer L. Berhorst              0.1          49 Correspondence with opposing counsel to meet
    3/9/2020                 Invoice=10933747                                and confer regarding motion for protective
                                                                             order.

   2/25/2020         20974 Gregory J. Sachnik                0.3     179.4 Review and revise motion for protective order
    3/9/2020                 Invoice=10933747                              including need for certificate of conference.

   2/25/2020         21524 Sarah R. Holdmeyer                0.3     105.3 Continue drafting motion for protective order.
    3/9/2020                 Invoice=10933747

   2/26/2020         10679 Jennifer L. Berhorst              0.1          49 Correspondence with opposing counsel to request
    3/9/2020                 Invoice=10933747                                extension on deadline to response to motion for
                                                                             choice of law.

   2/26/2020         10679 Jennifer L. Berhorst              0.1          49 Meet and confer with opposing counsel regarding
    3/9/2020                 Invoice=10933747                                consent to motion for protective order in
                                                                             accordance with local rules.

   2/27/2020         10679 Jennifer L. Berhorst              0.1          49 Revise order on motion for protective order.
    3/9/2020                 Invoice=10933747

   2/27/2020         10679 Jennifer L. Berhorst              0.2          98 Revise motion for extension of time to respond
    3/9/2020                 Invoice=10933747                                to motion on choice of law determination.

   2/27/2020         20974 Gregory J. Sachnik                0.3     179.4 Revise certificate of conference and draft
    3/9/2020                 Invoice=10933747                              order for motion for protective order.

   2/27/2020         11546 Guadalupe Rojas-Wiederaenders     1.2     253.8
    3/9/2020                 Invoice=10933747                                Draft motion for extension of time to respond
                                                                             to motion for determination of choice of law
                                                                             and proposed order.

   2/27/2020         11546 Guadalupe Rojas-Wiederaenders     1.1    232.65
    3/9/2020                 Invoice=10933747                                Revise motion for protective order; draft
                                                                             proposed order; preparation of documents for
                                                                             filing; file documents.

   2/28/2020         11546 Guadalupe Rojas-Wiederaenders     0.8     169.2
    3/9/2020                 Invoice=10933747                                Finalize revisions to motion and order for
                                                                             extension; finalize preparation of documents
                                                                             for submission to court; file with Court and
                                                                             forward conformed copy to J. Berhorst.

    3/3/2020         10679 Jennifer L. Berhorst              0.1          49 Draft correspondence to client requesting
   4/13/2020                 Invoice=10942062                                position on Estate's request for extension of
                                                                             deadlines and approval to being preparation of
                                                                             summary judgment papers.

    3/4/2020         10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding status of
   4/13/2020                 Invoice=10942062                                mediation.




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    3/5/2020      10679 Jennifer L. Berhorst              0.1       49 Correspondence with opposing counsel regarding
   4/13/2020           Invoice=10942062                                request for extension of scheduling order
                                                                       deadlines.

    3/6/2020     10679 Jennifer L. Berhorst               0.2         98 Analyze motion to revise scheduling order.
   4/13/2020           Invoice=10942062

    3/6/2020     21963 William J. Easley                  1.3      421.2 Draft correspondence to J. L. Berhorst
   4/13/2020           Invoice=10942062                                  regarding the possibility of submitting an
                                                                         offer of settlement and capping damages under
                                                                         Massachusetts law.

    3/6/2020     21963 William J. Easley                  1.2      388.8 Draft correspondence to J. L. Berhorst
   4/13/2020           Invoice=10942062                                  regarding risk of maximum loss if Texas
                                                                         versus Massachusetts case law were applied.

    3/6/2020     21963 William J. Easley                  1.4      453.6 Analyze Massachusetts case law to determine
   4/13/2020           Invoice=10942062                                  risk of loss if Massachusetts law was applied
                                                                         to this case.

    3/6/2020     21963 William J. Easley                  1.2      388.8 Analyze case law regarding consumer protection
   4/13/2020           Invoice=10942062                                  statutes in Texas to prepare response to motion
                                                                         to designate case law.

    3/6/2020     21524 Sarah R. Holdmeyer                 0.3      105.3 Develop strategy in regards to response to
   4/13/2020           Invoice=10942062                                  motion for application of Massachusetts law.

    3/7/2020     21963 William J. Easley                  1.1      356.4 Revise choice of law memorandum to discuss
   4/13/2020           Invoice=10942062                                  whether the Massachusetts demand requirement
                                                                         prior to a consumer protection suit will be
                                                                         applied in Texas federal court.

    3/9/2020     21963 William J. Easley                  0.2       64.8 Outline opposition to motion to designate
   4/13/2020           Invoice=10942062                                  choice of law.

    3/9/2020     11546 Guadalupe Rojas-Wiederaenders      0.3         60
   4/13/2020           Invoice=10942062                                    Receipt and review of ECF notices, download
                                                                           documents, send to docketing if necessary and
                                                                           distribute.

   3/10/2020     10679 Jennifer L. Berhorst               0.4        196 Telephone conference with fifth circuit
   4/13/2020           Invoice=10942062                                  mediator to discuss mediation opportunities.

   3/11/2020     21963 William J. Easley                  1.8      583.2 Draft response to motion to designate
   4/13/2020           Invoice=10942062                                  massachusetts law.

   3/12/2020     10679 Jennifer L. Berhorst               0.2         98 Analyze Wheatley Estate's opposition to motion
   4/13/2020           Invoice=10942062                                  for protective order.

   3/12/2020     10679 Jennifer L. Berhorst               0.3        147 Revise opposition to motion for choice of law
   4/13/2020           Invoice=10942062                                  determination.

   3/13/2020     21524 Sarah R. Holdmeyer                 0.2       70.2 Continue drafting proposed order on the


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    4/13/2020            Invoice=10942062                                   Wheatley Estate's motion regarding choice of
                                                                            law.

    3/13/2020     20974 Gregory J. Sachnik                0.2     119.6 Examine response to motion on choice of law and
    4/13/2020            Invoice=10942062                               proposed order for compliance with local rules.

    3/13/2020     11546 Guadalupe Rojas-Wiederaenders     0.9      180
    4/13/2020            Invoice=10942062                                   Draft, revise and finalize proposed order
                                                                            denying plaintiff's motion for choice of law;
                                                                            preparation for filing and file with Court.

    3/14/2020     21524 Sarah R. Holdmeyer                0.8     280.8 Begin reviewing opposition to motion for
    4/13/2020            Invoice=10942062                               protective order filed by the Wheatley Estate
                                                                        in preparation of drafting reply.

    3/16/2020     21524 Sarah R. Holdmeyer                1.1     386.1 Begin drafting reply in support of motion for
    4/13/2020            Invoice=10942062                               protective order.

    3/17/2020     21524 Sarah R. Holdmeyer                1.3     456.3 Continue drafting reply in support of motion
    4/13/2020            Invoice=10942062                               for protective order.

    3/17/2020     20974 Gregory J. Sachnik                0.1      59.8 Review communication from court of appeals
    4/13/2020            Invoice=10942062                               regarding transcripts.

    3/17/2020     11546 Guadalupe Rojas-Wiederaenders     0.2          40
    4/13/2020            Invoice=10942062                                   Retrieve appeal documents, distribute to
                                                                            counsel and send to docketing.

    3/18/2020     21524 Sarah R. Holdmeyer                1.8     631.8 Continue drafting reply in support of motion
    4/13/2020            Invoice=10942062                               for protective order.

    3/18/2020     20974 Gregory J. Sachnik                0.2     119.6 Revise reply in support of motion to quash.
    4/13/2020            Invoice=10942062

    3/18/2020     10679 Jennifer L. Berhorst              0.3      147 Analyze motion for leave to amend scheduling
    4/13/2020            Invoice=10942062                              order.

    3/18/2020     10679 Jennifer L. Berhorst              0.5      245 Analyze motion for partial summary judgment
    4/13/2020            Invoice=10942062                              filed by Wheatley Estate.

    3/18/2020     10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding case
    4/13/2020            Invoice=10942062                                 status.

    3/18/2020     10679 Jennifer L. Berhorst              0.5      245 Revise reply in support of motion for
    4/13/2020            Invoice=10942062                              protective order.

    3/18/2020     10679 Jennifer L. Berhorst              0.6      294 Strategize regarding response to motion for
    4/13/2020            Invoice=10942062                              partial summary judgment.

    3/23/2020      8995 William Perry Brandt              0.2               Email correspondence regarding summary judgment
    4/13/2020            Invoice=10942062                 0.2               motion and motion to amend scheduling.

    3/23/2020      8995 William Perry Brandt              0.9               Review past pleadings for context for summary


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    4/13/2020            Invoice=10942062                  0.9             judgment motion response.

    3/23/2020      8995 William Perry Brandt              0.4              Review summary judgment motion and motion to
    4/13/2020            Invoice=10942062                 0.4              amend scheduling.

    3/23/2020     21524 Sarah R. Holdmeyer                2.6      912.6 Draft opposition to motion to amend scheduling
    4/13/2020            Invoice=10942062                                order.

    3/24/2020     21524 Sarah R. Holdmeyer                0.2        70.2 Review proposed order on opposition to motion
    4/13/2020            Invoice=10942062                                 for leave to amend scheduling order.

    3/24/2020     20974 Gregory J. Sachnik                0.2      119.6 Revise opposition to motion to amend scheduling
    4/13/2020            Invoice=10942062                                order for compliance with local rules.

    3/24/2020     20974 Gregory J. Sachnik                0.1        59.8 Revised proposed order denying motion to amend
    4/13/2020            Invoice=10942062                                 scheduling order.

    3/24/2020     10679 Jennifer L. Berhorst              0.2          98 Revise opposition to motion to extend
    4/13/2020            Invoice=10942062                                 scheduling order deadlines.

    3/24/2020     11546 Guadalupe Rojas-Wiederaenders     0.5        100
    4/13/2020            Invoice=10942062                                  Draft proposed order denying defendant's motion
                                                                           to modify scheduling order.

    3/25/2020     21524 Sarah R. Holdmeyer                0.2        70.2 Final review of proposed order denying motion
    4/13/2020            Invoice=10942062                                 to amend scheduling order.

    3/26/2020     20974 Gregory J. Sachnik                0.1        59.8 Finalize opposition to motion to amend
    4/13/2020            Invoice=10942062                                 scheduling order for compliance with local
                                                                          rules.

    3/26/2020     11546 Guadalupe Rojas-Wiederaenders     0.9        180
    4/13/2020            Invoice=10942062                                  Finalize response and proposed order (.3);
                                                                           finalize preparation of documents for
                                                                           submission to court (.3); file with Court (.3).

    3/30/2020     20974 Gregory J. Sachnik                0.2      119.6 Review plaintiff's reply brief in support of
    4/13/2020            Invoice=10942062                                motion to amend scheduling order.

    3/30/2020     21524 Sarah R. Holdmeyer                4.5    1,579.50 Review partial summary judgment motion filed by
    4/13/2020            Invoice=10942062                                 the Wheatley Estate and develop strategy for
                                                                          response; research in preparation of response;
                                                                          begin drafting response.

    3/30/2020     10679 Jennifer L. Berhorst              0.2          98 Strategize regarding opposition to motion for
    4/13/2020            Invoice=10942062                                 summary judgment.

    3/31/2020     10679 Jennifer L. Berhorst              1.2        588 Revise opposition to motion for summary
    4/13/2020            Invoice=10942062                                judgment.

    3/31/2020     21524 Sarah R. Holdmeyer                2.5      877.5 Continue drafting response to motion for
    4/13/2020            Invoice=10942062                                summary judgment; review multiple emails with
                                                                         counsel for the Wheatley Estate to attach as


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                                                                             exhibits to the response.

       4/1/2020      21524 Sarah R. Holdmeyer                0.5     175.5 Continue drafting response to motion for
       5/8/2020              Invoice=10948406                              summary judgment and draft affidavit in support
                                                                           of response.

       4/2/2020      21524 Sarah R. Holdmeyer                0.2      70.2 Continue drafting declaration of Jennifer
       5/8/2020              Invoice=10948406                              Berhorst in support of opposition to motion for
                                                                           summary judgment and prepare exhibits to same.

       4/2/2020      20974 Gregory J. Sachnik                0.3     179.4 Assess response to Estate's motion for summary
       5/8/2020              Invoice=10948406                              judgment with attached declaration and exhibits
                                                                           for compliance with local rules.

       4/2/2020      10679 Jennifer L. Berhorst              0.1          49 Analyze documents filed in appeal by J. Ward.
       5/8/2020              Invoice=10948406

       4/2/2020      10679 Jennifer L. Berhorst              0.4      196 Revise affidavit in support of opposition to
       5/8/2020              Invoice=10948406                             motion for summary judgment.

       4/3/2020      10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding status of
       5/8/2020              Invoice=10948406                                review of motion for summary judgment.

       4/3/2020      20974 Gregory J. Sachnik                0.4     239.2 Review court and local rules in preparation for
       5/8/2020              Invoice=10948406                              submission of response on formal submission
                                                                           date for the motion.

       4/3/2020      21524 Sarah R. Holdmeyer                0.2      70.2 Review proposed order denying motion for
       5/8/2020              Invoice=10948406                              summary judgment.

       4/3/2020      11546 Guadalupe Rojas-Wiederaenders     1.5    317.25
       5/8/2020              Invoice=10948406                                Finalize opposition and proposed order and file
                                                                             documents with Court.

       4/6/2020      11546 Guadalupe Rojas-Wiederaenders     0.7    148.05
       5/8/2020              Invoice=10948406                                File response in opposition to motion for
                                                                             partial summary judgment with exhibits and
                                                                             forward same to counsel.

       4/6/2020      20974 Gregory J. Sachnik                0.1      59.8 Finalize response brief for submission.
       5/8/2020              Invoice=10948406

   4/21/2020         10679 Jennifer L. Berhorst              0.2          98 Strategize regarding potential postponement of
    5/8/2020                 Invoice=10948406                                trial date.

   4/23/2020         10679 Jennifer L. Berhorst              0.1          49 Analyze order setting briefing schedule.
    5/8/2020                 Invoice=10948406

   4/23/2020         10679 Jennifer L. Berhorst              0.1          49 Correspondence with opposing parties regarding
    5/8/2020                 Invoice=10948406                                status of dismissal of appeal.

   4/23/2020         20974 Gregory J. Sachnik                0.1      59.8 Review multiple minute orders and entries by
    5/8/2020                 Invoice=10948406                              5th Circuit Court of Appeals.


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   4/23/2020      11546 Guadalupe Rojas-Wiederaenders     0.3          60 Receipt and review of ECF notices and
    5/8/2020              Invoice=10948406                                distribution of same.

   4/24/2020      20974 Gregory J. Sachnik                0.2     119.6 Communicate with opposing counsel regarding
    5/8/2020              Invoice=10948406                              non-opposition to motion to dismiss appeal
                                                                        without prejudice.

   4/24/2020      10679 Jennifer L. Berhorst              0.1          49 Conference with counsel for J. Ward regarding
    5/8/2020              Invoice=10948406                                dismissal of 5th Circuit appeal.

   4/24/2020      10679 Jennifer L. Berhorst              0.1          49 Analyze motion to dismiss appeal filed by J.
    5/8/2020              Invoice=10948406                                Ward.

   4/24/2020      10679 Jennifer L. Berhorst              0.2          98 Correspondence with client regarding status of
    5/8/2020              Invoice=10948406                                appeal, pending motions and trial date.

   4/27/2020      10679 Jennifer L. Berhorst              0.1          49 Correspondence with counsel for J. Ward
    5/8/2020              Invoice=10948406                                regarding amended motion to dismiss appeal.

   4/27/2020      20974 Gregory J. Sachnik                0.2     119.6 Communicate with opposing counsel regarding
    5/8/2020              Invoice=10948406                              amended motion to dismiss.

   4/28/2020      20974 Gregory J. Sachnik                0.2     119.6 Review multiple amendments to motion to
    5/8/2020              Invoice=10948406                              dismiss.

   4/28/2020      11546 Guadalupe Rojas-Wiederaenders     0.5      100
    5/8/2020              Invoice=10948406                                Receipt and review of new ECF notices and
                                                                          distribute same.

   4/29/2020      20974 Gregory J. Sachnik                0.1      59.8 Review order dismissing appeal without
    5/8/2020              Invoice=10948406                              prejudice and denying alternative relief of
                                                                        stay.

   5/12/2020       8995 William Perry Brandt              0.3             Email correspondence to and from client.
    6/8/2020              Invoice=10955566                0.3

   5/12/2020       8995 William Perry Brandt              1.4             Review status.
    6/8/2020              Invoice=10955566                1.4

   5/12/2020      21524 Sarah R. Holdmeyer                 1       351 Review various pending motions and develop to
    6/8/2020              Invoice=10955566                             determine settlement and/or trial strategy.

   5/12/2020      10679 Jennifer L. Berhorst              0.2          98 Correspondence with client regarding current
    6/8/2020              Invoice=10955566                                litigation status and prospects for settlement.

   5/13/2020      10679 Jennifer L. Berhorst              0.5      245 Correspondence with opposing counsel to discuss
    6/8/2020              Invoice=10955566                             case status and settlement.

   5/13/2020      10679 Jennifer L. Berhorst              0.4      196 Strategize regarding potential tactics to
    6/8/2020              Invoice=10955566                             achieve final resolution with J. Ward.

   5/13/2020      10679 Jennifer L. Berhorst              0.3      147 Telephone conference with client to discuss


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       6/8/2020              Invoice=10955566                           settlement strategy.

   5/13/2020         10679 Jennifer L. Berhorst         0.1          49 Correspondence with local counsel regarding
    6/8/2020                 Invoice=10955566                           status of Texas federal trials.

   5/13/2020         10679 Jennifer L. Berhorst         0.1          49 Draft email correspondence to opposing counsel
    6/8/2020                 Invoice=10955566                           confirming settlement offer.

   5/13/2020          8995 William Perry Brandt         0.3             Prepare for and participate in teleconference
    6/8/2020                 Invoice=10955566           0.3             with client.

   5/13/2020          8995 William Perry Brandt         0.2             Conference with J. L. Berhorst.
    6/8/2020                 Invoice=10955566           0.2

   5/13/2020         20974 Gregory J. Sachnik           0.2     119.6 Strategize regarding trial setting including
    6/8/2020                 Invoice=10955566                         review of local court advisories regarding
                                                                      COVID issues.

   5/18/2020          8995 William Perry Brandt         0.3             Review email and conference with J. L.
    6/8/2020                 Invoice=10955566           0.3             Berhorst.

   5/18/2020         10679 Jennifer L. Berhorst         0.1          49 Analyze correspondence from opposing counsel
    6/8/2020                 Invoice=10955566                           regarding decline of settlement offer.

   5/18/2020         10679 Jennifer L. Berhorst         0.3      147 Draft correspondence to client advising on
    6/8/2020                 Invoice=10955566                        strategy for resolution of damages issues.

   5/20/2020         10679 Jennifer L. Berhorst         0.2          98 Draft correspondence to court clerk in response
    6/8/2020                 Invoice=10955566                           to inquiry regarding trial.

   5/20/2020         10679 Jennifer L. Berhorst         0.2          98 Telephone conference with client to discuss
    6/8/2020                 Invoice=10955566                           litigation strategy.

   5/20/2020         10679 Jennifer L. Berhorst         0.2          98 Telephone conference with counsel for Whealtey
    6/8/2020                 Invoice=10955566                           Estate to discuss response to court inquiry.

   5/20/2020          8995 William Perry Brandt         0.2             Email correspondence regarding trial setting.
    6/8/2020                 Invoice=10955566           0.2

   5/20/2020          8995 William Perry Brandt         0.3             Teleconference with client.
    6/8/2020                 Invoice=10955566           0.3

   5/21/2020         10679 Jennifer L. Berhorst         0.1          49 Correspondence with client to provide update on
    6/8/2020                 Invoice=10955566                           communication with court.

   5/26/2020         10679 Jennifer L. Berhorst         0.1          49 Correspondence with client regarding order
    6/8/2020                 Invoice=10955566                           denying addition of counterclaim.

   5/26/2020         10679 Jennifer L. Berhorst         0.3      147 Correspondence with client regarding strategy
    6/8/2020                 Invoice=10955566                        for summary judgment hearing.

   5/26/2020         10679 Jennifer L. Berhorst         0.3      147 Analyze Court's order denying motion for leave
    6/8/2020                 Invoice=10955566                        to add counterclaims.


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   5/26/2020          8995 William Perry Brandt        0.3             Review order and email correspondence regarding
    6/8/2020                 Invoice=10955566          0.3             same.

   5/26/2020         20974 Gregory J. Sachnik          0.1        59.8 Review court order denying Wheatly's motions to
    6/8/2020                 Invoice=10955566                          amend and reopen discovery.

   5/26/2020         21524 Sarah R. Holdmeyer          0.3      105.3 Review order denying several of the Estate's
    6/8/2020                 Invoice=10955566                         motions.

   5/26/2020          9483 Ann Woeppel                 0.2        47.6 Prepare motion for pro hac admission for W. P.
    6/8/2020                 Invoice=10955566                          Brandt.

   5/27/2020          8995 William Perry Brandt        0.5             Prepare for hearing.
    6/8/2020                 Invoice=10955566          0.5

   5/27/2020         10679 Jennifer L. Berhorst        3.3    1,617.00 Prepare for hearing on the Wheatley Estate's
    6/8/2020                 Invoice=10955566                          motion for summary judgment including review of
                                                                       all relevant pleadings and preparation of
                                                                       outline.

   5/27/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with opposing counsel regarding
    6/8/2020                 Invoice=10955566                          settlement.

   5/27/2020         10679 Jennifer L. Berhorst        0.2          98 Correspond with client regarding approval of
    6/8/2020                 Invoice=10955566                          settlement strategy.

   5/27/2020         10679 Jennifer L. Berhorst        0.4        196 Strategize regarding renewed settlement
    6/8/2020                 Invoice=10955566                         efforts.

   5/28/2020         10679 Jennifer L. Berhorst         1         490 Prepare for and attend hearing on motion for
    6/8/2020                 Invoice=10955566                         partial summary judgment and correspond with
                                                                      client regarding the same.

   5/28/2020          8995 William Perry Brandt        0.5             Participate in hearing.
    6/8/2020                 Invoice=10955566          0.5

   5/29/2020         10679 Jennifer L. Berhorst        0.2          98 Analyze settlement offer received from opposing
    6/8/2020                 Invoice=10955566                          counsel and correspond with client regarding
                                                                       the same.

       6/2/2020      10679 Jennifer L. Berhorst        0.1          49 Analyze minute entry entered by Court regarding
       7/8/2020              Invoice=10962054                          decision on motion for partial summary
                                                                       judgment.

       6/2/2020       8995 William Perry Brandt        0.2             Email correspondence regarding settlement.
       7/8/2020              Invoice=10962054          0.2

       6/3/2020      20974 Gregory J. Sachnik          0.1        59.8 Review order on motion for summary judgment.
       7/8/2020              Invoice=10962054

       6/4/2020       8995 William Perry Brandt        0.7             Prepare for and teleconference with client.
       7/8/2020              Invoice=10962054          0.7


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Date              Initials   Name / Invoice Number   Hours Amount      Description

       6/4/2020      10679 Jennifer L. Berhorst        0.4      196 Telephone conference with client to discuss
       7/8/2020              Invoice=10962054                       response to settlement offer.

       6/5/2020      20974 Gregory J. Sachnik          0.1      59.8 Review minute order canceling bench trial.
       7/8/2020              Invoice=10962054

   6/10/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with counsel for the Wetly
    7/8/2020                 Invoice=10962054                          Estate regarding status of provision of
                                                                       attorney bills to analyze settlement offer.

   6/18/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with opposing counsel regarding
    7/8/2020                 Invoice=10962054                          extension of time to serve attorneys' fee
                                                                       motion.

   6/19/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with counsel for J. Ward
    7/8/2020                 Invoice=10962054                          regarding potential settlement of claims.

   6/19/2020         10679 Jennifer L. Berhorst        0.2          98 Analyze memorandum filed by J. Ward regarding
    7/8/2020                 Invoice=10962054                          finalization of attorneys' fee award prior to
                                                                       appeal.

   6/22/2020         10679 Jennifer L. Berhorst        0.4      196 Telephone conference with counsel for J. Ward
    7/8/2020                 Invoice=10962054                       regarding settlement prospects.

   6/23/2020         10679 Jennifer L. Berhorst        0.1          49 Correspondence with opposing counsel regarding
    7/8/2020                 Invoice=10962054                          revision to minute entry related to dismissal
                                                                       of counterclaims.

   6/24/2020         10679 Jennifer L. Berhorst        0.2          98 Telephone conference with counsel for the
    7/8/2020                 Invoice=10962054                          Wheatly Estate to discuss modification of
                                                                       minute entry related to partial summary
                                                                       judgment.

   6/25/2020         10679 Jennifer L. Berhorst        0.2          98 Analyze Wheatly Estate's motion for
    7/8/2020                 Invoice=10962054                          reconsideration of Court's May 28, 2019 minute
                                                                       entry to determine whether to consent to
                                                                       motion.

   6/25/2020         10679 Jennifer L. Berhorst        0.2          98 Draft correspondence to client regarding
    7/8/2020                 Invoice=10962054                          attorney's fee motion and advise regarding
                                                                       response.

   6/25/2020         10679 Jennifer L. Berhorst         2       980 Calculate reduced attorneys' fee sum through
    7/8/2020                 Invoice=10962054                       detailed analysis of billing statements.

   6/25/2020         10679 Jennifer L. Berhorst        0.4      196 Strategize regarding potential responses to
    7/8/2020                 Invoice=10962054                       motion.

   6/25/2020         10679 Jennifer L. Berhorst        0.5      245 Analyze motion for attorneys fees and
    7/8/2020                 Invoice=10962054                       supporting materials filed by the Wheatly
                                                                    Estate.




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Date          Initials   Name / Invoice Number         Hours Amount       Description
    6/26/2020      8995 William Perry Brandt              0.2             Email correspondence.
     7/8/2020           Invoice=10962054                  0.2

   6/29/2020     10679 Jennifer L. Berhorst              0.1          49 Follow up with client regarding opposition to
    7/8/2020           Invoice=10962054                                  motion to revise order.

   6/30/2020     10679 Jennifer L. Berhorst              0.5        245 Direct work on preparation of response to
    7/8/2020           Invoice=10962054                                 Wheatly's attorney's fees motion.

   6/30/2020     21524 Sarah R. Holdmeyer                0.5       175.5 Review the Wheatly Estate's motion for attorney
    7/8/2020           Invoice=10962054                                  fees and develop strategy for responding to
                                                                         same.

     7/1/2020    21524 Sarah R. Holdmeyer                5.3    1,860.30 Review cases cited in the Wheatley Estate's
                                                                         brief in support of its request for attorneys'
                                                                         fees (.8); additional research in preparation
                                                                         of drafting opposition to the Wheatley Estate's
                                                                         brief (1.2); begin drafting opposition to the
                                                                         Wheatley Estate's brief (2.9); prepare table of
                                                                         contents and appendix for opposition (.4).

     7/2/2020    10679 Jennifer L. Berhorst              0.6        294 Revise opposition to Wheatley Estate's motion
                                                                        for attorneys fees.

     7/3/2020    20974 Gregory J. Sachnik                0.1        59.8 Strategize for finalizing materials to be
                                                                         submitted to court.

     7/6/2020    20974 Gregory J. Sachnik                0.6       358.8 Review response to Wheatley's claim for fees
                                                                         including revisions to draft order and finalize
                                                                         for submission to court.

     7/6/2020    10679 Jennifer L. Berhorst              0.1          49 Analyze notice of hearing received from court.

     7/6/2020    10679 Jennifer L. Berhorst              0.1          49 Correspondence with client regarding final
                                                                         approval of opposition to Wheatley Estate's
                                                                         motion for attorney fees.

     7/6/2020    11546 Guadalupe Rojas-Wiederaenders     1.8        360
                                                                          Finalize revisions to opposition; finalize
                                                                          appendix and exhibits; draft and finalize
                                                                          order; preparation of documents for submission
                                                                          to court; communication with attorneys
                                                                          forwarding conformed copy.

     7/7/2020    20974 Gregory J. Sachnik                0.2       119.6 Review hearing transcript.

     7/9/2020     8995 William Perry Brandt              0.4              Prepare for and teleconference hearing with
                                                                          court.

     7/9/2020    10679 Jennifer L. Berhorst              2.5    1,225.00 Prepare for hearing on competing motions for
                                                                         attorneys' fees.

     7/9/2020    10679 Jennifer L. Berhorst              0.5        245 Argue motion for attorneys fees at hearing.


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Date              Initials   Name / Invoice Number         Hours Amount        Description

       7/9/2020      10679 Jennifer L. Berhorst              1.4        686 Create factual timeline of relevant claims
                                                                            documentation in support of opposition to
                                                                            motion for reconsideration of dismissal of
                                                                            counterclaims.

    7/10/2020        10679 Jennifer L. Berhorst              0.6        294 Begin drafting opposing to motion for
                                                                            reconsideration.

    7/10/2020        21524 Sarah R. Holdmeyer                0.2        70.2 Develop strategy to opposing motion for
                                                                             reconsideration.

    7/13/2020        21524 Sarah R. Holdmeyer                3.7    1,298.70 Research availability of attorneys' fee award
                                                                             for fees incurred for proceedings beyond
                                                                             initial interpleader action (1.2); continue
                                                                             drafting opposition to motion to revise order
                                                                             (1.8); prepare exhibits for opposition to
                                                                             motion to review order (.5); review proposed
                                                                             order denying motion to revise order (.2).

    7/13/2020        20974 Gregory J. Sachnik                0.3       179.4 Review opposition to motion to modify and
                                                                             exhibits to ensure compliance with local rules.

    7/13/2020        10679 Jennifer L. Berhorst              0.5        245 Begin drafting supplemental affidavit in
                                                                            support of motion for attorneys' fees.

    7/13/2020        10679 Jennifer L. Berhorst              3.5    1,715.00 Complete draft of opposition to motion for
                                                                             reconsideration of dismissal of statutory
                                                                             attorneys' fees claim.

    7/13/2020        11546 Guadalupe Rojas-Wiederaenders     1.8        360
                                                                               Draft, revise and finalize proposed order
                                                                               regarding opposition to motion for revised
                                                                               order; preparation of exhibits; finalize
                                                                               revisions to order and opposition; finalize
                                                                               preparation of documents for submission to
                                                                               court.
Total Fees Invoiced from 9/1/2019 to 7/13/2020:                     78206.95
Write-Off By Client:                                               15,000.00
Total Fee Request from 9/1/2019 to 7/13/2020:                      63,206.95




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                            )
COMPANY (U.S.A.) f/k/a John Hancock                    )
Life Insurance Company                                 )
                                                       )
                               Plaintiff,              )
                                                       )
         v.                                            )       Case No. 4:18-CV-02869
                                                       )
THE ESTATE OF JENNIFER LAUREN                          )
WHEATLEY, et al.                                       )
                                                       )
                               Defendants.             )

              TABLE OF CONTENTS TO APPENDIX TO
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                  AND SUGGESTIONS IN SUPPORT

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Respectfully submitted this 14th day of July, 2020.

                                               Respectfully submitted,

                                               BRYAN CAVE LEIGHTON PAISNER LLP


                                               By: /s/ Jennifer L. Berhorst
                                                   Gregory J. Sachnik
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                                                 1
602207928.1
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                                      Admitted Pro Hac Vice:

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                                      Attorneys for Plaintiff John Hancock Life
                                      Insurance Company (U.S.A.)
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                       )
COMPANY (U.S.A.) f/k/a John Hancock               )
Life Insurance Company                            )
                                                  )
                            Plaintiff,            )
                                                  )
       v.                                         )      Case No. 4:18-CV-02869
                                                  )
THE ESTATE OF JENNIFER LAUREN                     )
WHEATLEY, et al.                                  )
                                                  )
                            Defendants.           )

                             CERTIFICATE OF SERVICE

       This is to certify that I have served a true and correct copy of the foregoing TABLE

OF CONTENTS TO APPENDIX TO PLAINTIFF’S MOTION FOR AWARD OF

ATTORNEYS’ FEES AND EXPENSES AND SUGGESTIONS IN SUPPORT via the

Court’s CM/ECF filing system which automatically sends a copy of same to counsel of

record, as follows:

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       Ariel.wiley@usdoj.gov
       Attorneys for Defendant USDOJ


Respectfully submitted this 14th day of July, 2020.

                                            Respectfully submitted,

                                            BRYAN CAVE LEIGHTON PAISNER LLP


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                                                 Attorneys for Plaintiff John Hancock Life
                                                 Insurance Company (U.S.A.)
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                                                                 interest [the “Policy Proceeds”] was due under the Policy, but
                                                                 stated that it was “unable to dis[bu]rse the Policy Proceeds
                   2016 WL 4361462
                                                                 without potentially exposing itself to duplicative claims or
    Only the Westlaw citation is currently available.
                                                                 liabilities.” Id. at 2. Therefore, Coface moved for leave to
              United States District Court,
             S.D. Texas, Houston Division.                       deposit the Policy Proceeds into the Court's registry, 1 and
                                                                 “request [ed] a discharge from liability as to the amounts
 Coface North America Insurance Company, Plaintiff,              deposited into the Court's registry, [ ] a dismissal from
                         v.                                      this action with prejudice, and [ ] an injunction against
     Woodlands Export, LLC, et al, Defendants.                   all competing claimants from commencing or prosecuting
                                                                 any claim or action against CofaceNA regarding the Policy
             CIVIL ACTION NO. 4:15-CV-621                        Proceeds.” Id. The Court granted Coface's Motion (Document
                           |                                     No. 45) and ordered that Coface make an application
                   Signed 08/15/2016                             requesting reimbursement of costs expended and reasonable
                           |                                     attorneys' fees. Therefore Coface submitted its Motion
                      08/16/2016                                 for Attorneys' Fees, “seeking $54,910.28 in reasonable,
                                                                 equitable, and just attorney's fees and costs.” (Document No.
Attorneys and Law Firms
                                                                 46 at 1). Coface was represented by Beirne, Maynard &
David Alan Walton, Parsons McEntire McCleary & Clark,            Parsons, LLP (“BMP”), which is located in Dallas, Texas. Id.
PLLC, Dallas, TX, for Plaintiff.                                 at 9.

Nicole Ruble Metcalf, Michael Lee Knapek, Stephanie
Collett Sparks, Jackson Walker LLP, Dallas, TX, John F.          Standard of Review
Carroll, Attorney at Law, San Antonio, TX, Jared A. Ullman,      A district court has the authority and the discretion to
Michael W. Ullman, Ullman & Ullman, PA, Boca Raton, FL,          award attorney's fees in successful interpleader suits to a
for Defendants.                                                  disinterested stakeholder whenever it is fair and equitable to
                                                                 do so. Rhoades v. Casey, 196 F.3d 592, 603 (5th Cir. 1999),
                                                                 cert. denied, 531 U.S. 924 (2000) (citing Corrigan Dispatch
                                                                 Co. v. Casa Guzman, S.A., 696 F.2d 359, 364 (5th Cir.
                 ORDER AND OPINION
                                                                 1983)). “[A]s a general rule, when an interpleader action is
MELINDA HARMON, UNITED STATES DISTRICT                           successful, the court often awards costs, as well as attorney's
JUDGE                                                            fees, to the stakeholder.” Murphy v. Travelers Ins. Co., 534
                                                                 F.2d 1155, 1164 (5th Cir. 1976). See also Helt v. Sambina
 *1 Before the Court is Plaintiff Coface North America           Properties, Ltd., No. 4:15-CV-760, 2016 WL 3198623, at *5
Insurance Company's (“Coface's”) Motion for Attorneys'           (E.D. Tex. June 9, 2016). The fee is usually modest because
Fees. (Document No. 46). None of the other parties in the case   “all that is necessary is the preparation of a petition, the
have filed a Response. Having considered Plaintiff's Motion      deposit in the court or posting of a bond, service on the
and the applicable law, the Court concludes the Plaintiff's      claimants, and the preparation of an order discharging the
Motion is GRANTED.                                               stakeholder.” 7 Charles Alan Wright, Arthur R. Miller, &
                                                                 Mary Kay Kane, Federal Practice and Procedure § 1719 (3d
                                                                 ed. 2001) (hereinafter “Federal Practice and Procedure ”).
Background                                                       The Fifth Circuit requires only that the award be reasonable.
Plaintiff filed its Complaint (Document No. 1) in interpleader   James Talcott, Inc. v. Allahabad Bank, Ltd., 444 F.2d 451, 468
against Defendants Woodlands Export, LLC (“Woodlands”),          (5th Cir. 1971). Commentators suggest five factors relevant
BBVA Compass Bank (“Compass”), as successor of Laredo            to awarding fees in an interpleader case: (1) whether the
National Bank (“LNB”), and DF Deutsche, pursuant to              case is simple; (2) whether the stakeholder performed any
Federal Rule of Civil Procedure 22. Defendants presented         unique services for the claimants or the court; (3) whether
conflicting claims “to all or part of the proceeds under trade   the stakeholder acted in good faith and with diligence; (4)
credit insurance policy number E-4890294 [the “Policy”]          whether the services rendered benefitted the stakeholder;
issued by CofaceNA to Woodlands.” (Document No. 27 at            and (5) whether the claimants improperly protracted the
1). Coface did not dispute that $2,700,000.00 plus applicable


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proceedings. Royal Indem. Co. v. Bates, 307 Fed.Appx. 801,         the community for similar services by lawyers of reasonably
806 (5th Cir. 2009) (citing Federal Practice and Procedure,        comparable skill, experience and reputation.” Blum, 465
§ 1719).                                                           U.S. at 895-96 n.11. The fee applicant bears the burden of
                                                                   producing evidence that the requested rate is appropriate
 *2 “In an ordinary diversity case [such as this], awards          within the relevant community. Condon v. Hunting Energy
of attorney's fees are governed by applicable state law.”          Services, L.P., Civ. A. No. H-04-3411, 2006 WL 2882857, at
Perkins State Bank v. Connolly, 632 F.2d 1306, 1310 (5th           *2 (S.D. Tex. Oct. 4, 2006).
Cir. 1980) (citing Alyeska Pipeline Service v. Wilderness
Society, 421 U.S. 240, 259 n. 31 (1975) (“In an ordinary           In addition to the community rate, the district court must
diversity case where the state law does not run counter to         also consider the attorneys' regular rates. Louisiana Power,
a valid federal statute or rule of court, and usually it will      50 F.3d at 328. Generally when an attorney's requested
not, state law denying the right to attorney's fees or giving a    hourly rate is his customary rate, when it is within the
right thereto, which reflects a substantial policy of the state,   range of prevailing market rates, and when the rate is not
should be followed.”)). “Texas interpleader law entitles an        contested, it is viewed as prima facie reasonable. Id. at 329.
innocent stakeholder to recover its attorney's fees from the       To establish the reasonableness of his requested rate, the
funds it deposits if it has a reasonable doubt with respect to     fee applicant should produce satisfactory evidence beyond
which claimant is entitled to the fund.” RSL-3B-IL, Ltd. v.        his own affidavit “that the requested rates are in line with
Prudential Ins. Co. of Am., 470 S.W.3d 131, 139 (Tex. App.         those prevailing in the community for similar services by
2015) (citations omitted). “Texas courts look to many of the       lawyers of reasonably comparable skill, experience, and
same factors as do the federal courts in making attorney-          reputation.” Blum, 465 U.S. at 896 n.11. Furthermore, the
fee awards.” Robinson v. State Farm Fire & Cas. Co., 13            court may exercise its own expertise and judgment in making
F.3d 160, 164 (5th Cir. 1994) (citing Atlantic Richfield Co. v.    an independent valuation of appropriate attorney fees. Davis
Manges, 702 F.2d 85, 87 (5th Cir. 1983)).                          v. Bd. of Sch. Comm'rs of Mobil County, 526 F.2d 865, 868
                                                                   (5th Cir. 1976).
“The initial estimate of a reasonable attorney's fee is properly
calculated by multiplying the number of hours reasonably            *3 The court must determine whether the hours expended by
expended on the litigation times a reasonable hourly rate,” a      the prevailing party's counsel were “reasonably expended,”
sum commonly called the “lodestar.” Blum v. Stenson, 465           both as to the total number of hours claimed and the
U.S. 886, 888 (1984). “[T]he fee applicant bears the burden        specific hours claimed. Condon, 2006 WL 2882857, at
of establishing entitlement to an award and documenting            *2 (citingLouisiana Power, 50 F.3d at 329). The fee
the appropriate hours expended and hourly rates. The               applicant bears the burden of showing that the hours
applicant...should maintain billing time records in a manner       claimed were reasonably expended. Hensley, 461 U.S. at 437.
that will enable a reviewing court to identify distinct claims.”   Compensable hours, reasonably spent, are determined from
Hensley v. Eckerhart, 461 U.S. 424, 437 (1983). There is a         the attorney's contemporaneous time or billing records or
strong presumption that the lodestar is a reasonable fee, and      other documentation which the district court must examine to
the fee applicant bears the burden of demonstrating that an        discern which hours are compensable and which are not. Id.
upward adjustment by application of the Johnson factors is         at 434; Louisiana Power, 50 F.3d at 324.
necessary to calculate a reasonable fee. Walker v. Dept. of
HUD, 99 F.3d 761, 771 (5th Cir. 1996); Louisiana Power &           The fee applicant should exercise “billing judgment” and
Light Co. v. Kellstrom, 50 F.3d 319, 324 (5th Cir. 1995), cert     keep billing time records in a way that enables the reviewing
denied, 516 U.S. 862 (1995).                                       court to “identify distinct claims.” Hensley, 461 U.S. at
                                                                   437. See also Gagnon v. United Technisource, Inc., 607
A reasonable hourly rate is that rate in the community for         F.3d 1036, 1044 (5th Cir. 2010) (An applicant for fees
such legal services rendered by attorneys of comparable skill,     must submit documentation, e.g., contemporaneous billing
experience, and reputation. Heidtman v. County of El Paso,         records or detailed invoices or affidavits, to permit the
171 F.3d 1039, 1043 (5th Cir. 1999); Alberti v. Klevenhagen,       court to identify noncompensable hours and to determine
896 F.2d 927, 936 (5th Cir. 1990), vacated in part on              an appropriate amount of fees.). Counsel must “exclude
other grounds, 903 F.2d 352 (5th Cir. 1990). A reasonable          from a fee request hours that are excessive, redundant,
hourly rate should be in accord with rates “prevailing in          or otherwise unnecessary....” Id. See also Saizan v. Delta



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Concrete Products Company, 448 F.3d 795, 799 (5th Cir.              factors to be considered in adjusting the award once the
2006) (“[P]laintiffs seeking attorney's fees are charged with       lodestar is calculated.”) (citing Johnson, 488 F.2d at 717).
the burden of showing the reasonableness of the hours
billed and, therefore, are also charged with proving that           As noted, based on one or more Johnson factors, the court
they exercised billing judgment. Billing judgment requires          may apply a multiplier to adjust the lodestar up or down if
documentation of the hours charged and of the hours written         that factor or factors are not already taken into account by
off as unproductive, excessive, or redundant. The proper            the lodestar, itself. Strong, 137 F.3d at 850. An adjustment
remedy for omitting evidence of billing judgment does not           may only be made if the Johnson factor has not already been
include a denial of fees but, rather, a reduction of the award by   accounted for in the lodestar. In re Fender, 12 F.3d 480, 487
a percentage intended to substitute for the exercise of billing     (5th Cir. 1994), cert. denied, 511 U.S. 1143 (1994); Shipes
judgment.” [footnotes omitted] ); Louisiana Power, 50 F.3d          v. Trinity Indus., 987 F.2d 311, 320 (5th Cir. 1993) (“[T]he
at 324-25 (“[T]he documentation must be sufficient for the          district court must be careful...not to double count a Johnson
court to verify that the applicant has met its burden....[A]        factor already considered in calculating the lodestar when it
district court may reduce the number of hours awarded if the        determines the necessary adjustments.”), cert. denied, 510
documentation is vague or incomplete....Failing to provide          U.S. 991 (1993).
contemporaneous billing statements does not preclude an
award of fees per se as long as the evidence produced is            Four of the Johnson factors are presumably included in the
adequate to determine reasonable hours.”).                          lodestar calculation: the novelty and complexity of the issues,
                                                                    the special skill and experience of counsel, the quality of
In determining what is a reasonable fee, the courts in the          representation, and the results obtained from the litigation.
Fifth Circuit must consider the factors set out in Johnson v.       Blum, 465 U.S. at 898-99; Shipes, 987 F.2d at 320. “Although
Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974),        upward adjustments of the lodestar figure based on these
abrogated on other grounds, Blanchard v. Bergeron, 489 U.S.         factors are still permissible, such modifications are proper
87 (1989) (holding that a fee award under § 1988 should             only in certain rare and exceptional cases supported by
not be capped by a contingent fee agreement between the             specific evidence on the record and detailed findings by
attorney and his client). The twelve Johnson factors are (1)        the lower courts.” Id. The Fifth Circuit has also held that
the time and labor required; (2) the novelty and difficulty of      two other factors, time limitations imposed by the client or
the issues; (3) the skill required to perform the legal service     the circumstances and preclusion of other employment, are
adequately; (4) the preclusion of other employment by the           generally subsumed in the lodestar calculation, too. Shipes,
attorney because he accepted this case; (5) the customary fee       987 F.3d at 321-22; Heidtman v. City of El Paso, 171 F.3d
for similar work in the community; (6) whether the fee is fixed     1038, 1043 (5th Cir. 1999).
or contingent; (7) time limitations imposed by the client or
the circumstances; (8) the amount involved and the results
obtained; (9) the experience, reputation, and ability of the        Discussion
attorneys; (10) the undesirability of the case; (11) the nature
                                                                    Interpleader Factors
and length of the professional relationship with the client; and
                                                                    The Court finds that Coface should receive attorneys' fees
(12) awards in similar cases. Johnson, 488 F.2d at 717-19. 2        pursuant to the “general rule” in interpleader cases. Murphy,
                                                                    534 F.2d at 1164. Furthermore, the factors typically weighed
 *4 While the lodestar is relevant to determining a fee award,      in awarding fees in an interpleader suit suggest that Coface
it is not the sole basis for determining that award; the Johnson    should receive fees. Although the case was simple, did not
factors are applicable to deciding whether the lodestar is          involve unique services, and ultimately provided benefits
reasonable, as well as to adjusting that award by a multiplier      to Coface, factors (3) and (5) strongly weigh in favor of
once the lodestar is calculated. Abrams v. Baylor College           awarding fees. Coface made reasonable, good faith efforts to
of Medicine, 805 F.2d 528, 536 (5th Cir. 1986) (“The time           determine the rights of the competing claimants to the Policy
and hours spent on a case are a necessary ingredient in             Proceeds. (Document No. 46 at 3). Furthermore, claimant
determining a fee award, but they should not be the sole            DF Deutsche improperly protracted the proceedings by filing
basis for determining a fee. The Johnson factors govern the         an inconsistent Response to Coface's Motion to Dismiss
determination of reasonableness itself; they are not merely         (Document No. 34), and protracted the proceedings by filing




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counterclaims against Coface which were not supported by           the amounts in the Court's registry, and to receive an
law. (See Court's Order and Opinion, Document No. 45).             injunction against all competing claimants from commencing
                                                                   or prosecuting any claim or action against CofaceNA
                                                                   regarding the policy proceeds.” (Document No. 46 at 12).
Hourly Rate                                                        Specifically, 49.70 hours were spent on pleadings, 15 hours
Coface has suggested hourly rates of $365 for David Walton         were spent on pretrial, 32.30 hours were spent on motion
(a partner with 12 years of experience), $315 for Robert           practice, and 46.10 hours were spent on discovery. Id. Walton
Rosen and Sarah Sparling (associates with experience of 8          spent 91.30 hours on the case, Rosen spent 37.30, Sparling
and 6 years, respectively 3 ), and $115 for Candy Ryan (a legal    spent 5.80, and Ryan spent 8.60. Id. at 13. The Court has
assistant 4 with 26 years of experience). (Document No. 46         examined the billing time records, and believes that Plaintiff
at 10). The Motion also states that these rates “are the regular   has met its burden in demonstrating that the hours claimed
hourly rates for the BMP attorneys and legal assistance,” and      were reasonably expended. Hensley, 461 U.S. at 437.
cites several cases for the proposition that these rates are
within the range of prevailing market rates. Id. at 10-11. See
                                                                   Johnson Factors
Miller v. Raytheon Co., 716 F.3d 138, 149 (5th Cir. 2013)
                                                                   Plaintiff does not request an adjustment to the lodestar based
(“reduced hourly rates of $577.50, $542.50, and $280 were
                                                                   upon these factors, but the Court must still weigh the Johnson
reasonable, customary rates”); Rouse v. Target Corp., No.
                                                                   factors in determining whether the fee is reasonable. The
3:15-CV-48, 2016 WL 319871, at *3 (S.D. Tex. Jan. 26,
                                                                   twelve Johnson factors are (1) the time and labor required; (2)
2016) ($500 per hour rate was reasonable for partner with
                                                                   the novelty and difficulty of the issues; (3) the skill required
over 21 years of experience in labor and employment law,
                                                                   to perform the legal service adequately; (4) the preclusion
and $300 per hour was reasonable for associate with just 2
                                                                   of other employment by the attorney because he accepted
years of experience); Preston Expl. Co., LP v. GSP, LLC,
                                                                   this case; (5) the customary fee for similar work in the
No. CIV.A. H-08-3341, 2013 WL 3229678, at *5 (S.D. Tex.
                                                                   community; (6) whether the fee is fixed or contingent; (7)
June 25, 2013) (“$407.03/hour for partners, $224.27/hour
                                                                   time limitations imposed by the client or the circumstances;
for associates, and $132.84/hour for legal assistants [was]
                                                                   (8) the amount involved and the results obtained; (9) the
reasonable in the Houston market” for breach of contract
                                                                   experience, reputation, and ability of the attorneys; (10) the
case); Richardson v. Tex-Tube Co., 843 F. Supp. 2d 699,
                                                                   undesirability of the case; (11) the nature and length of the
709 (S.D. Tex. 2012) ($350/hour reasonable for partner with
                                                                   professional relationship with the client; and (12) awards
eighteen years of experience, and $125/hour reasonable for a
                                                                   in similar cases. Johnson, 488 F.2d at 717-19. However
paralegal); Fluor Corp. v. Citadel Equity Fund Ltd., No. 3:08-
                                                                   the Court will not weigh factors (2), (3), (4), (7), (8), and
CV-1556-B, 2011 WL 3820704, at *5 (N.D. Tex. Aug. 26,
                                                                   (9) because they are presumably included in the lodestar
2011) (“In other cases involving Texas lawyers, the hourly
                                                                   calculation. Blum, 465 U.S. at 898-99; Shipes, 987 F.2d at
rates range from $220 for associates to $510 for senior
                                                                   320-2; Heidtman, 171 F.3d at 1043.
partners.”) (citing cases). Given that these rates are customary
for these attorneys, fit within the range allowed by recent case
                                                                   (1) As discussed above, the Court believes that the hours
law, and are not contested by any other party, the Court finds
                                                                   claimed were reasonable. (5) Customary fees for the attorneys
that these rates are reasonable. Louisiana Power, 50 F.3d at
                                                                   were also discussed above. (6) The fee in this case was
329 (“Generally when an attorney's requested hourly rate is
                                                                   hourly. (10) No “undesirability” of the case is alleged here.
his customary rate, when it is within the range of prevailing
                                                                   (Document No. 46 at 18). (11) BMP has represented Coface
market rates, and when the rate is not contested, it is viewed
                                                                   since 2012. Id. (12) Coface states that it is not aware of
as prima facie reasonable.”).
                                                                   awards made in similar litigation within and without the
                                                                   Court's circuit. Id. However the Court has found information
Hours Expended                                                     on awards in other interpleader cases. See Rhoades, 196 F.3d
 *5 Plaintiff has included extensive records of the hours          at 603 (affirming award of $23,951); James Talcott, 444 F.2d
spent on this case. (Document No. 46-1). Plaintiff states          at 451 (affirming award of $25,000); Massachusetts Mut. Life
that “approximately 143 hours were spent to bring this             Ins. Co. v. Sanders, 787 F. Supp. 2d 628, 642 (S.D. Tex.
interpleader action, to participate in discovery and motion        2011) (awarding $20,392.11); Amlin Corp. Member, Ltd. v.
practice, to be dismissed with prejudice upon depositing           Logistics Grp. Int'l, Inc., No. CIV.A. H-09-2695, 2011 WL
                                                                   1044048, at *6 (S.D. Tex. Mar. 17, 2011) (noting that Court


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                                                                        appear to be reasonable, and therefore the Court finds that it
previously awarded interpleader plaintiff $16,216.69 in fees).
Although these awards are lower than the amount requested               is fair and equitable to award them. Rhoades, 196 F.3d at 603.
by BMP, some of these cases are much older, and, as discussed
above, DF Deutsche added unnecessarily to BMP's workload,
                                                                        Conclusion
requiring BMP to spend more hours than is typical for an
                                                                         *6 The court has reviewed Walton's affidavit relating to its
interpleader case.
                                                                        costs and fees and finds that the hours expended, the billing
                                                                        rate, and the expenses are reasonable. The court hereby
The Court finds that none of these factors weigh heavily in
favor of an increase or decrease to the lodestar calculation,
                                                                        GRANTS Plaintiff's Motion (Document No. 46) and
and that they generally suggest that the calculation is
                                                                        AWARDS Plaintiff $54,910.28 in attorneys' fees and
reasonable.
                                                                        expenses, which shall be paid from the policy proceeds that
                                                                        are in the court's registry.
Costs
                                                                        SIGNED at Houston, Texas, this 15th day of August, 2016.
Coface requests $5,412.28 in costs. (Document No. 46 at
2). Coface does not detail these costs in its Motion, but
review of the billing records submitted suggests these costs            All Citations
include items such as copying, delivery services, subpoena
fees, printing, research, court fees, litigation support vendors,       Not Reported in F.Supp.3d, 2016 WL 4361462
and travel. (Document No. 46-1 at 18, 23, 48). These costs


Footnotes
1       Coface deposited the funds into the Court's Registry on February 29, 2016.
2       Similarly, Texas courts determine reasonableness by applying the Arthur Andersen factors. These factors are:
            (1) the time and labor required, the novelty and difficulty of the questions involved, and the skill required to perform
            the legal service properly;
            (2) the likelihood...that the acceptance of the particular employment will preclude other employment by the lawyer;
            (3) the fee customarily charged in the locality for similar legal services;
            (4) the amount involved and the results obtained;
            (5) the time limitations imposed by the client or by the circumstances;
            (6) the nature and length of the professional relationship with the client;
            (7) the expertise, reputation, and ability of the lawyer or lawyers performing the services; and
            (8) whether the fee is fixed or contingent on results obtained or uncertainty of collection before the legal services have
            been rendered.
            Preston Expl. Co., LP v. GSP, LLC, No. CIV.A. H-08-3341, 2013 WL 3229678, at *2-3 (S.D. Tex. June 25, 2013) (citing
            Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)).
3       In his affidavit, Walton states that both associates have been licensed to practice law in Texas since 2007. (Document
        No. 46-1 at 2). It is unclear which statement is correct, but the fact that both are billed at the same rate seems to suggest
        they have the same amount of experience.
4       Work by paralegals may only be recovered to the extent that it is similar to that typically performed by attorneys; otherwise
        it is an unrecoverable overhead expense. Coleman v. Houston Independent School District, 202 F.3d 264 (5th Cir. 1999)
        (citingAllen v. United States Steel Corp., 665 F.2d 689, 697 (5th Cir. Unit B 1982)). The Court has reviewed the work
        billed by Ryan and believes it to be “similar to that typically performed by attorneys.” Id.


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                                                                    Plaintiff. All other costs and expenses shall be borne by the
                                                                    party incurring same.
                   2005 WL 8164432
    Only the Westlaw citation is currently available.
                                                                    Intervenor first objects that the Fee Petition was untimely.
              United States District Court,
                                                                    This objection is rejected as entirely unfounded. The Court’s
             S.D. Texas, Houston Division.
                                                                    Order directing the filing of the Fee Petition (the “Order”)
            Beverly Ann DUNCAN, Plaintiff,                          was entered on the docket of this case on September 27, 2005
                         and                                        [Doc. # 27]. 1 Defendant’s Fee Petition was filed timely on
             Tamara Duncan, Intervenor,                             October 11, 2005, fourteen days from the entry of the Order,
                          v.                                        as directed.
          OXY SERVICES, INC. and Occidental
                                                                    The Court turns to the Fee Petition and Intervenor’s more
             Petroleum Corp., Defendants.
                                                                    substantive objections. “A district court has the authority
                 Civil Action No. H-05-1661                         to award reasonable attorney’s fees in interpleader actions.”
                              |                                     Rhodes v. Casey, 196 F.3d 592, 603 (5th Cir. 1999) (citing
                     Signed 12/27/2005                              Corrigan Dispatch Company v. Casa Guzman, S.A., 696 F.2d
                                                                    359, 364 (5th Cir. 1983)). “The award of attorney’s fees is
Attorneys and Law Firms                                             in the discretion of the district court, and fees are available
                                                                    when the interpleader is a disinterested stakeholder, and is
Frank Bennett Harvie, Jr., Patrick Aaron Huzinec, Novelli
                                                                    not in substantial controversy with one of the claimants.”
Harvie et al, Houston, TX, for Plaintiff.
                                                                    Id. (citing Phillips Petroleum Company v. Hazlewood, 534
Jason Andrew Cox, Tammy C. Manning, Galligan and                    F.2d 61, 63 (5th Cir. 1976)). Defendants are pure stakeholders
Manning, Houston, TX, for Intervenor.                               in this case. Although Defendants were sued by Plaintiff,
                                                                    Defendants did not take sides for or against her in the dispute
                                                                    with Intervenor. 2 Defendants simply sought to provide the
       ORDER GRANTING ATTORNEYS’ FEES                               appropriate forum for resolution of the competing claims for
                                                                    the ERISA plan benefits in issue. Defendants thus are entitled
Nancy F. Atlas, United States District Judge                        to reasonable and necessary attorneys’ fees.

 *1 Defendants Oxy Services, Inc. and Occidental Petroleum           *2 Typically, attorneys’ fee requests in the Fifth Circuit are
Corporation have filed a Fee Petition [Doc. # 32] requesting        governed by a “lodestar” analysis whereby the party seeking
approximately $30,000 in attorneys’ fees and expenses to be         fees must show the “reasonableness” and necessity of (1)
paid from the $252,647.47 Defendants interpleaded in the            the number of hours expended to adjudicate the dispute, and
Court’s Registry pending determination of competing claims          (2) the proponent’s hourly rate. Riley v. City of Jackson,
filed by Plaintiff Beverly Ann Duncan and Intervenor Tamara         Miss., 99 F.3d 757, 760 (5th Cir. 1996); accord Heidtman
Duncan. Intervenor objects [Doc. # 40] to Defendants’ Fee           v. County of El Paso, 171 F.3d 1038, 1043 (5th Cir. 1999).
Petition on the grounds that it is untimely and, alternatively,     Once the court identifies the lodestar figure, it then must set
that the fees and costs requested were unnecessary,                 the award based on further analysis of the factors set out
inequitable and unfair. Intervenor requests further that if the     Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th
Court assesses any fees, they should be assessed solely against
                                                                    Cir. 1974). 3 After making the lodestar calculation, the district
Plaintiff. Plaintiff has not responded to the Fee Petition.
                                                                    court may decrease or enhance the lodestar figure based on
                                                                    the relative weights of the twelve factors set forth in Johnson
The Court carefully has considered Defendants’ Fee Petition,
                                                                    v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th
supporting affidavits and other data and exhibits, Intervenor’s
                                                                    Cir. 1974). See Heidtman, 171 F.3d at 1043 (citing Shipes
objection, Defendants’ reply to that objection [Doc. # 42], as
                                                                    v. Trinity Industries, 987 F.2d 311, 319-20 (5th Cir. 1993)).
well as all other matters of record in this case. The Court finds
                                                                    The lodestar may not be adjusted due to a Johnson factor,
that many of the hours expended fees were warranted and an
                                                                    however, if the creation of the lodestar award already took that
award of $20,000 is appropriate. This sum will be deducted
                                                                    factor into account. Id. Such reconsideration is impermissible
from the interpleaded funds. Taxable costs shall be paid by
                                                                    double-counting. Id.


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                                                                    of plan participants. Finally, the Court is unpersuaded that
                                                                    Defendants are entitled to recover attorneys’ fees for time
More hours were necessary and reasonable in this interpleader
                                                                    spent preparing a fee application. Thus, Defendants must bear
case than the typical interpleader litigation. Many of the
                                                                    some portion of the burden of the legal costs.
issues raised by Plaintiff and Intervenor, which Defendants
had to address, were unfounded. By way of example, Plaintiff
                                                                     *3 Under all the facts and circumstances presented, the
objected to this Court’s jurisdiction and sought remand of this
                                                                    Court concludes that Defendants are entitled to recover
case to state court. After receiving Defendants’ opposition to
                                                                    $20,000 in attorneys’ fees and the fees should be paid from
the remand motion and some negotiation, Plaintiff withdrew
her motion. Plaintiff for some unknown reason insisted on           the interpleaded funds. 5 The Court recognizes that this result
responses from Defendants to broad requests for discovery.          may pose an arguable inequity to the extent Intervenor, who
Plaintiff did not cooperate in drafting the interpleader order.     is entitled to the plan benefits, will have to bear the burden
Plaintiff failed to take the lead, as appropriate, in preparing     of this fee award when it was not her conduct that caused
the draft scheduling order for the initial pretrial conference,     many of the hours and fees incurred. Nevertheless, to prevail,
leaving the task to Defendants’ counsel. It was Defendants          Intervenor needed the Court’s determination regarding the
that brought Intervenor into this litigation. For some time,        proper distribution of funds and the Court could not do so until
Intervenor inexplicably refused to agree to interpleading           the case was in the appropriate posture.
the contested funds. 4 Defendants thus needed to address
                                                                    Because Plaintiff initiated this action and did not prevail on
numerous issues that do not typically arise in an interpleader
                                                                    any issues, Plaintiff shall bear the taxable costs of this suit,
action. Defendants’ pleadings substantially assisted the Court
                                                                    which shall be determined in accordance with 28 U.S.C. §
and were informative, well-reasoned, and concise. The
                                                                    1920. All other costs shall be borne by the party incurring
authorities cited were apt.
                                                                    same. It is therefore
The Court notes, however, that there appears to have been
                                                                    ORDERED that Defendants’ Fee Petition is GRANTED in
an enormous number of communications between defense
                                                                    part. It is further
counsel and their clients. The hours expended drafting certain
relatively straightforward pleadings, such as the proposed
                                                                    ORDERED that Defendants are AWARDED $20,000 in
interpleader order, appear to exceed the norm. Also, most
                                                                    attorneys’ fees which shall be paid from the monies in the
of the issues were not novel or particularly difficult and, for
                                                                    Court’s Registry for this case. It is further
the most part, did not require highly skilled counsel. While
the rates charged by counsel and their legal assistant are not
                                                                    ORDERED that Plaintiff shall pay the taxable costs of court
unreasonable for persons of comparable skill in the Houston
                                                                    in this case. All other expenses shall be borne by the party
legal community, there is an issue as to whether so much of
                                                                    incurring same. It is further
the work had to be performed by such senior attorneys.

                                                                    ORDERED that, after the $20,000 in attorneys’ fees has
In a different vein, reimbursement for a portion of the legal
                                                                    been paid to Defendants, all remaining interpleaded principal
research hours appears unreasonable because that portion
of the research appears to have been associated with basic          and interest shall be disbursed for the benefit of Intervenor
                                                                    Tamara Duncan by check payable to Pershing, L.L.C.,
administration of the ERISA plan, not with issues raised
                                                                    11140 Rockville Pike, 4th Floor, Rockville, MD 20852-3144.
by the competing claimants in this litigation, i.e., which of
                                                                    The check shall be delivered to Tammy Manning, 802 W.
decedent Duncan’s two putative wives was entitled to the
                                                                    Alabama, Houston, Texas, 77006, counsel for Intervenor.
ERISA benefits. The Court cannot ignore that an ERISA plan
administrator has a contractual duty to attempt to resolve core
issues raised in the course of plan administration, which issues    All Citations
include taxability of benefits, alternative financial vehicles by
which to transfer benefits to beneficiaries, and preliminary        Slip Copy, 2005 WL 8164432
analysis of competing claims interposed by heirs or relatives


Footnotes



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1     The Court signed the Order on September 21, 2005, but it was not docketed for six days, until September 27. This type
      of delay is the reason that the Court measures time for actions by parties from “entry” of orders on the official docket,
      not from the date an order is signed.
2     See, e.g., Defendant OXY INC.’s Unopposed Motion for Leave to File Counterclaim for Interpleader [Doc. # 16]; Defendant
      OXY INC.’s Counterclaim for Interpleader [Doc. #17]; Motion for Summary Judgment [Doc. # 24] filed by Tamara Duncan;
      Response to Motion for Summary Judgment [Doc. # 28] filed by Beverly Ann Duncan.
3     The Johnson factors are:
           1. The time and labor required;
           2 The novelty and difficulty of the questions presented;
           3. The skill requisite to properly perform the legal services;
           4. Preclusion of other employment by the attorney due to acceptance of the case;
           5. The customary fee;
           6. Whether the fee is fixed or contingent;
           7. Time limitations imposed by the client;
           8. The amount involved and the results obtained;
           9. The expertise, reputation and ability of attorneys;
           10. The undesirability of the case;
           11. The nature and length of the professional relationship with the client;
           12. Awards in similar cases.
      Id. at 717-19.
4     Defendants also addressed issues involving a life insurance policy provided by or through Defendants to the decedent.
5     The Court has considered all other Johnson lodestar factor; the record does not contain probative information on the
      remaining factors and they do not affect the fee determination.


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                                                                  Contract Services, Inc. (“Quality”). Dkt. 1–1. However, due
                                                                  to competing claims to any monies due and owing to Quality,
                   2011 WL 643265
                                                                  Westlake sought to pay the Fund into the court registry and
    Only the Westlaw citation is currently available.
                                                                  sought an order dismissing it from the action. Id.
             United States District Court,
                     S.D. Texas,
                                                                  The United States of America removed the matter to this
                  Houston Division.
                                                                  court on July 23, 2010, on the basis that the claim asserted
      WESTLAKE STYRENE, LLC, Plaintiff,                           by the Internal Revenue Service (“IRS”) to the Fund invokes
                     v.                                           this court's federal question jurisdiction. Dkt. 1. Defendant
   UNITED STATES of America, et al., Defendants.                  Louisiana Crane filed its answer on July 30, 2010, and
                                                                  asserted that it had a priority right to the Fund, although it did
                Civil Action No. H–10–2631.                       not assert a counterclaim against Westlake. Dkt. 8.
                              |
                        Feb. 16, 2011.                            Westlake now seeks an order permitting it to pay the Fund
                                                                  into the registry of the court, and discharging it from this suit
Attorneys and Law Firms                                           with prejudice. Dkt. 21. Westlake seeks to be relieved of “any
                                                                  and all liability to the Claimants with respect to the subject
Stephen H. Lee, Porter Hedges LLP, Houston, TX, for
                                                                  matter of this interpleader action....” Id. at 7–8. Defendants
Plaintiff.
                                                                  Compass Bank and the United States do not oppose the relief
Thomas M. Herrin, Department of Justice, Dallas, TX, Lisa         sought by Westlake. Dkts. 22, 23.
Ann Powell, Jackson Walker LLP, Houston, TX, W. Fulton
Broemer, Broemer & Asoc LLC, Houston, TX, Charles                 Louisiana Crane objects to Westlake's motion, and asserts
Bennett Mitchell, Jr., Brown Doon, et. al., Fort Worth,           that Westlake, along with Quality, improperly settled the
TX, Christopher Michael Portner, Reaud Morgan et. al.,            underlying state court litigation without either obtaining
Beaumont, TX, for Defendants.                                     Louisiana Crane's consent, or ensuring that a judgment
                                                                  Louisiana Crane obtained in Louisiana state court would be
                                                                  satisfied. Dkt. 24 at 5–6. Louisiana Crane contends that if it
                                                                  does not recover the full amount of its judgment from the
             MEMORANDUM AND ORDER
                                                                  Fund 1 , it will assert a counterclaim against Westlake based
GRAY H. MILLER, District Judge.                                   upon Louisiana law.

 *1 Before the court in this interpleader action is a motion by
plaintiff Westlake Styrene, LLC (“Westlake”), asking that it      I. Interpleader.
be discharged with prejudice from this lawsuit upon payment       A traditional interpleader suit is an equitable action involving
of the disputed funds (“Fund”) into the court's registry. Dkt.    a disinterested plaintiff-stakeholder who either is, or may be,
21. After review of the motion, the responses, the reply, and     exposed to multiple liability or multiple litigation over an
the applicable law, the motion is GRANTED IN PART AND             identifiable fund to which there are two or more mutually
DENIED IN PART. Westlake will be permitted to pay the             inconsistent claims. Hussain v. Boston Old Colony Ins. Co.,
Fund into the registry of the court, and is DISMISSED from        311 F.3d 623, 631 (5th Cir.2002). The purpose of interpleader
this lawsuit. No party will be able to file any further claims    is to enable the plaintiff, who is also the stakeholder, to
against the Fund.                                                 avoid “the burden of unnecessary litigation or the risk of
                                                                  loss by the establishment of multiple liability when only a
                                                                  single obligation is owing.” Hussain, 311 F.3d at 631 (citing
                                                                  Texas v. Florida, 306 U.S. 398, 412 (1939)); White v. FDIC,
                     BACKGROUND
                                                                  19 F.3d 249, 251 (5th Cir.1994) (defining interpleader as a
Westlake filed an original interpleader petition in the 269th     “procedural device which entitles a person holding money or
Judicial District of Harris County, Texas, on June 29,            property, concededly belonging at least in part to another, to
2010, alleging that it had settled a lawsuit whereby it           join in a single suit two or more persons asserting mutually
agreed to pay $1,490,000 to Compass Bank and/or Quality           exclusive claims to the fund”).



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                                                                   of the counterclaimant's rights to the disputed fund can,
 *2 Courts possess broad discretion in interpleader actions.       however, be asserted. E. g., Deshotel, 142 F.3d at 882.
Rhoades v. Casey, 196 F.3d 592, 600–601 (5th Cir.1999). An
interpleader action typically proceeds in two stages. First, the
court decides whether the requirements for an interpleader         II. Analysis
action have been met by determining if there is a single fund      The parties here do not contest the propriety of the
at issue with more than one adverse claimant to that fund.         interpleader action in this case. Westlake has possession
Id. In this case, all parties concede that the elements of an      of the Fund, there are competing claims to the Fund, and
interpleader action have been met. Second, if the court finds      Westlake itself has no such claim. Therefore, the first stage
the interpleader action has been properly brought, it will then    of the analysis is quite simple. Westlake has satisfied the
make a determination of the respective rights of the claimants.    requirements for filing an interpleader action, and it will be
Id. The parties have not yet reached the second stage, but are     permitted to pay the Fund into the registry of the court.
now involved in a dispute concerning Westlake's status in this
matter.                                                             *3 The dispute in this matter is with respect to Westlake's
                                                                   status in this case going forward. As noted above, a
A stakeholder lacking an interest in the fund should be            stakeholder with no interest in the fund at issue is normally
discharged from the action upon payment of the fund into           discharged from the suit, and the claimants are left to
the court registry. 7 Charles Alan Wright, Arthur R. Miller,       litigate their competing claims. The only party objecting
& Mary Kay Kane, Federal Practice and Procedure § 1714             to Westlake's motion seeking discharge in this matter is
(3d ed. 2010) (“When the court decides that interpleader is        Louisiana Crane. More specifically, Louisiana Crane argues
available, it may issue an order discharging the stakeholder, if   that, should it not obtain full satisfaction of its claim from
the stakeholder is disinterested”). However, there is nothing      the interpleaded funds, then Westlake would be independently
preventing a party from asserting a counterclaim against a         liable for any shortfall.
stakeholder in an interpleader action. “Once the stakeholder
joins the claimants, a claimant may file a counterclaim against    There is, however, no counterclaim asserted against Westlake
the stakeholder as an opposing party.” New York Life Ins.          in this case by any defendant. Indeed, Louisiana Crane's
Co. v. Deshotel, 142 F.3d 873, 881 (5th Cir.1998). In fact,        argument appears to be that it might choose to file such
a counterclaim in an interpleader action may be compulsory         a counterclaim in the future. Louisiana Crane's potential
if it arises from the same “transaction or occurrence”             claim against Westlake is not properly before the court for
and could be subject to dismissal if not timely asserted.          decision at this time. 2 While the court has authority to
Deshotel, 142 F.3d at 882 (dismissing claim against insurer        deny discharge to a stakeholder against whom a counterclaim
for negligence in processing change of beneficiary form on         has been asserted, it is unaware of any case supporting
basis it was compulsory counterclaim in interpleader action).      the proposition that a stakeholder with no interest in the
The assertion of a counterclaim against a stakeholder is an        interpleaded funds should be denied discharge on the basis
appropriate basis for denying discharge. See Allstate Life         of a potential counterclaim. 3 Accordingly, Westlake will be
Ins. v. Short, 2005 WL 1972551 (S.D.Ohio, Aug.12, 2005)            permitted to pay the Fund into the registry of the court and it
(stakeholder not discharged on basis of counterclaim for           will be dismissed from this case.
independent liability against insurer for negligent loss of
change of beneficiary form). This is not to say, however,
that all counterclaims against stakeholders are appropriate.       III. Attorneys fees.
Claims against a stakeholder that are not independent of           An award of costs and reasonable attorneys' fees in an
the interpleaded fund, such as a claim that the stakeholder        interpleader action is within the discretion of the court.
should have paid the fund to a particular claimant rather          Rhoades v. Casey, 196 F.3d at 603. In fact, “costs and
than seek interpleader, are routinely dismissed because they       attorney's fees are generally awarded by federal courts
would deprive the stakeholder of the intended benefit of           to the plaintiff who initiated the interpleader as a mere
an interpleader action. Met. Life Ins. Co. v. Barretto, 178        stakeholder ....“ Mass. Indem. & Life Ins. Co., 700 F.Supp.
F.Supp.2d 745, 747–48 (S.D.Tex.2001). Counterclaims that           307 (M.D.La.1988) (citing Perkins State Bank v. Connolly,
assert liability on the part of the stakeholder independent        632 F.2d 1306 (5th Cir.1980)). A stakeholder should be
                                                                   denied costs and fees only when it was “in substantial



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      Case
Westlake      4:18-cv-02869
         Styrene,                  Document
                  LLC v. U.S., Not Reported      154-1 (2011)
                                            in F.Supp.2d Filed             on 07/14/20 in TXSD Page 50 of 50


                                                                        *4 Westlake's attorneys' fees and costs should, therefore, be
controversy with one of the claimants” and, hence, was not
                                                                       paid as follows: (1) all sums associated with the initial filing
“disinterested.” Rhoades v. Casey, 196 F.3d at 603.
                                                                       of this interpleader action shall be paid from the Fund; and
                                                                       (2) all costs and fees associated with the filing the motion
Here, the only controversy has been between Westlake and
                                                                       to dismiss (Dkt.21) and related pleadings shall be paid by
Louisiana Crane, and it involves a potential counterclaim
                                                                       Louisiana Crane.
that has not been pleaded. The court finds that this is not
a substantial controversy for purposes of Westlake's request
for costs and attorneys fees. Westlake is a disinterested
shareholder with respect to the fund, and to the claims that                                  CONCLUSION
are before the court. Westlake's request for attorneys' fees and
costs is GRANTED.                                                      No party objects to the motion seeking to have the funds
                                                                       held by Westlake deposited into the court's registry. Thus,
Attorneys' fees and costs “are generally awarded against the           Westlake is authorized to pay the fund into the registry of
interpleader fund, but may, in the discretion of the court, be         the court and, upon such payment, is DISCHARGED from
taxed against one of the parties when their conduct justifies          this suit. The parties are ENJOINED from filing any claims
it.” Septembertide Pub., B.V. v. Stein and Day, Inc., 884 F.2d         against the Fund in any other court. The court declines to
675, 683 (2d Cir.1989) (citing Prudential Ins. Co. of Am.              rule prospectively on the viability of any claim that Louisiana
v. Boyd, 781 F.2d 1494, 1497–98 (11th Cir.1986)). Here,                Crane may or may not choose to assert in the future.
the only impediment to this case proceeding as a “normal”
interpleader action, with Westlake paying the funds into the           Westlake shall file a statement of its attorneys' fees and
court and then being discharged, has been Louisiana Crane's            expenses on or before February 28, 2011, in accordance with
insistence that Westlake should not be dismissed because of            the above ruling. Objections to the statement of fees, if any,
a counterclaim that Louisiana Crane has prevented this court           shall be filed on or before March 7, 2011.
from addressing by not asserting it. If Louisiana Crane has
a ripe counterclaim, it ought to have been raised. If it does          Signed at Houston, Texas on February 16, 2010.
not, it should not have engaged the parties and the court in
unnecessary motions practice.
                                                                       All Citations

                                                                       Not Reported in F.Supp.2d, 2011 WL 643265


Footnotes
1      The total claims against the $1,490,000 fund in this case amount to more than $13,000,000.
2      As Circuit Judge Garza recently noted, “[f]ederal courts are only permitted to rule upon an actual ‘case or controversy,’
       and lack jurisdiction to render merely advisory opinions beyond the rulings necessary to resolve a dispute.” Whitehouse
       Hotel Ltd. Partnership v. C.I.R., 615 F.3d 321, 343 (5th Cir.2010).
3      And, for that matter, a potential counterclaim that may be barred for one or more reasons if and when it is asserted. This
       same lack of a justiciable controversy also prevents the court from ruling on Westlake's motion to the extent it seeks to
       adjudicate a claim that has not been pleaded.


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